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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
 FRES OQUENDO, an individual,                               CASE NO. 1:21-CV-00270
                    Plaintiff,
                                                            JUDGE ANDREA WOOD
            vs.
 WORLD BOXING ASSOCIATION, a foreign non-
 profit corporation,
                    Defendant.

                           DECLARATION OF GILBERTO J. MENDOZA
       1.         I am the President of the World Boxing Association (“WBA”). I am an adult, a citizen
of Venezuela, and resident of the Republic of Colombia. I have served as President of the WBA since
December 2015. I am familiar with the organization, rules, and procedures of the WBA, including the
operations of its Rankings and Championship Committees. Previously I chaired the Championships
Committee. I am competent to make this declaration.

                                       A.     ORGANIZATION

       2.         The WBA is incorporated as a voluntary non-profit corporation of the State of
Washington with its registered office in Tacoma, Washington and its principal place of business in
Panama City, Panama. A copy of the WBA’s most recent Express Annual Report with Changes, as
certified by the Washington State Office of Secretary of State, Corporations and Charities Division, is
attached as Exhibit A.
       3.         The WBA’s Registered Agent’s address is located in Tacoma, Washington. Tacoma is
the county seat of Pierce County, Washington. The WBA previously had been incorporated in the
Commonwealth of Pennsylvania, but that corporation is inactive.
       4.         The WBA is a member organization dedicated to promoting and serving the sport of
boxing and to implementing safety measures for the protection of boxers. The WBA ranks professional
boxers in various weight categories and sanctions title and related bouts.
       5.         The WBA conducts and directs its stated mission of promoting the sport of boxing from
its offices in Panama City, Panama. The WBA has no offices, employees, agents, property, phone
listings, board members or any other persons with a corporate relationship located in the State of
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Illinois. The WBA does not market or solicit business in the State of Illinois. The WBA does not
maintain any bank or other financial accounts in Illinois.
        6.      The WBA does not maintain registration as a foreign corporation with the State of
Illinois. At the present time, the WBA has no member resident in Illinois who would qualify to serve
as a bout supervisor.
        7.      The WBA does not dictate the location of sanctioned bouts. The locations of such bouts
are generally determined collaboratively by boxing promoters who receive the right to promote the
bout, and the managers, boxers, and media contacts involved in their planning. The WBA is not
involved in the scheduling of such bouts in any particular venue, including any particular state.
        8.      I have reviewed the Complaint in the above-named matter. None of the events or actions
alleged in the Complaint occurred in Illinois. No part of any decision regarding the ranking of
heavyweight boxers, the regulation and defense of their titles, or rule interpretations affecting those
decisions, including any and all decisions and interpretations affecting Fres Oquendo, took place in the
State of Illinois.
        9.      The Complaint discusses various ranking decisions and authorizations of title bouts in
the heavyweight boxing division by the WBA between 2014 and 2021. The allegations involve not
only Plaintiff Oquendo, but other boxers who were involved in, or affected by, decisions of the WBA
discussed in the Complaint. Among those other boxers is Mahmoud Charr, who I understand to be a
citizen and resident of the Federal Republic of Germany. As I understand the Complaint, it asks this
Court to order the WBA to take action against Charr by denying him a championship title. His title of

“Champion in Recess” has been a subject of review. Another boxer who was the subject of WBA
orders and decisions during the period of time covered by the Complaint is Trevor Bryan. Bryan is a
resident of Florida. Bryan’s current title is “World Champion.” Neither Charr nor Bryan is a resident
of Illinois. The requested relief could negatively affect either or both of the boxers.
                                         B.      WBA RULES
        10.     In ranking boxers and sanctioning title and other bouts, the WBA operates under its own
Rules. Those Rules govern rankings, authorization of title bouts, installation of boxers as champions,
removal of boxers as champions, removal of boxers from rankings, and other similar matters. Under
the WBA Rules, a decision to remove a Champion from his status is one that must be made by the
Championships Committee and the President of the WBA. A copy of the WBA Rules is attached as
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Exhibit B to this Declaration.
       11.     The WBA ranks male boxers monthly in seventeen weight divisions, including the
heavyweight division. The WBA also ranks female boxers. The WBA sanctions championship and
related bouts. Champions and mandatory contenders for championships are also set out in the monthly
ratings. If a boxer is demoted or removed from a rankings list, the WBA is required to post a reason
for the demotion or removal within ten days of publication of the rankings. Under federal law, 15
U.S.C. § 6301 et seq., a boxer or his agent may request a clarification for the reason provided. Such a
request is provided for in WBA Rule F.4.b. In addition, the WBA Rules allow a boxer or his agent to
request reconsideration of the ranking change or of the reason given for it, and further allows an internal
appeal of either decision. See Rules F.4.d, F.5, and F.6.a.
       12.     As a member of the WBA, Plaintiff is bound by the WBA Rules. Rule A.2. The Plaintiff
is “bound by” the Rules and “required to be familiar with them.” Rule C.7. Furthermore, he is obliged
“to know and be familiar with all Association rules,…” Rule. C.14. Pursuant to those Rules, any party
adversely affected by, or in disagreement with, a WBA resolution may file a Request for
Reconsideration, and have that Request considered, pursuant to WBA Rule F.5. Any affected party—
including the Plaintiff here—has an additional right to appeal a decision responding to a Request for
Reconsideration by filing an Appeal under WBA Rule F.6.
       13.     Chapter F of the WBA Rules is entitled “Request for Ratings Information,
Reconsideration, or Appeals.” The Rules allow a member to take various administrative actions when
asking for review or the setting aside of a decision by the WBA, its President, or by one of its

committees. Those Rules provide for Requests for Ratings Information, as well as Requests for
Reconsideration. They also allow for an Appeal. Any decision by the Championships Committee may
be reviewed pursuant to a Request for Reconsideration or Appeal. WBA Rule F.2. Every WBA action
alleged in the Complaint is subject to the provisions of Chapter F of the Rules. The Rules for Requests
for Reconsideration set out procedures to provide notice to other parties that may be affected by the
request, and for procedures to consider the request. WBA Rule F.5. Rule F.5.b provides that: “Failure
to timely request reconsideration shall constitute a waiver by the boxer and his agents of any and all
rights and claims.” It further provides that: “No additional remedy may be sought from a court of law.”
       14.     A further step allowing for administrative review of decisions by the WBA is an
“Appeal”. WBA Rule F.6. Appeals cover decisions by any Committee, the Directorate, or the
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President. If an appeal is filed, an appeals panel is appointed, and various procedural steps for a hearing
and deciding the appeal are carried out. WBA Rules F.7-14. Under the same Rules, Oquendo is “under
the obligation to know and be familiar with all Association Rules, . . . including those involving appeals
and legal actions”. WBA Rule C.14. In his Complaint, Oquendo admits that he “has a contractual
relationship with the WBA that incorporates the Rules of (sic) World Boxing Association.”
               15.     WBA Rule F.17 provides as follows:


               No member, boxer, promoter, manager, agent, or other person or entity,
               may seek relief in any court of a matter subject to reconsideration or
               appeal unless said party has first exhausted the administrative remedies
               provided in these rules.

Exhibit B, WBA Rule F.17. Plaintiff did not seek any remedies under the foregoing provision. Plaintiff

did not appeal any relevant decision of the WBA.

       16.     WBA Rule F.18 deals with, among other things, choice of law and proper venue for any

“member, boxer, promoter, manager, or other person or entity who requests, benefits from, or is

affected by a rating or sanction, or who asserts a claim or right against the Association, or requests

relief arising from the Association’s Constitution, Bylaws or these Rules.”

       The choice of law provision is WBA Rule F.18.a, which states that: “The laws of the State of
Washington, United States of America, govern.” See Exhibit B, WBA Rule F.18.b.
               Furthermore, the Rules have the following provision on venue:


               Venue. Venue shall lie in the courts of Pierce County, State of
               Washington, United States of America.


Exhibit B, WBA Rule F.18.b.

       This venue provision applies to any “member, boxer, promoter, and others who assert ‘a claim
or right’ ‘arising from the’ WBA’s Rules.” The United States District Court for the Western District

of Washington, Tacoma Division, sits in Pierce County, Washington.
       17.     As a member of the WBA, Oquendo has consented to the application of Rule F.18.b.,
and, therefore, to Pierce County, Washington as the proper venue.


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       18.    Upon review of the complaint, it is unclear what specific contractual obligations

Plaintiff believes the WBA has breached. Plaintiff appears to take issue with the WBA’s sanctioning

of a 2016 bout between Ruslan Chagaev and Lucas Browne, Complaint ¶¶ 13-14, a 2017 bout between

Manuel Charr and Alexander Ustinov, Complaint ¶¶ 17-18, and cancellation of Plaintiff’s

championship bouts due to his own disregard for WBA rules and his opponents’ use of performance-

enhancing substances, Complaint ¶¶ 15-17, 20-21, 24. Plaintiff also objects to a WBA decision

concerning his ranking made in 2020. Complaint ¶ 23.

              19.    The WBA process for determining rankings and championship bouts is subject

to challenge and review via the internal adjudicative process laid out about under Chapter F of the

Rules. Plaintiff has never challenged any ranking decision, championship bout decision, match

cancellation, or any other WBA decision mentioned in the complaint through that WBA Rules process.

       EXECUTED this 12 day of January 2022 at _____________________________.
                                                Orlando, Florida




                                           GILBERTO J. MENDOZA




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SMITH I ALLINGps                                                         exhibit a
ATTORNEYS AT LAV/
                Case: 1:21-cv-00270 Document #: 24 Filed: 01/13/22 Page 7 of 90 PageID #:118

                                                                                                        Filed
                                                                                                  Secretary of State
         SOS
 Office of fhe Secretary of State
                                                                                                 State of Washington
                                                                                               Date Filed: 09/28/2020
                                                                                              Effective Date; 09/28/2020
 Corporations & Ctiarities Division
                                                                                                 UBI #: 602 653 993



EXPRESS ANNUAL REPORT WITH CHANGES


BUSINESS INFORMATION
Business Name:
WORLD BOXING ASSOCIATION

UBI Number:
602 653 993

Business Type:
WA NONPROFIT CORPORATION

Business Status:
ACTIVE

Principal Office Street Address:
AYE. AQUILINO DE LA GUARDIA & CALLE 47, OCEAN BUSINESS PLAZA,14TH FLOOR,OFFICE 14-05,
MARBELLA,PANAMA,PANAMA,081601091,PANAMA
Principal Office Mailing Address:
AYE. AQUILINO DE LA GUARDIA & CALLE 47, OCEAN BUSINESS PLAZA,14TH FLOOR,OFFICE 14-05,
MARBELLA,PANAMA,PANAMA,081601091,PANAMA
Expiration Date:
09/30/2021

Jurisdiction:
UNITED STATES,WASHINGTON
Formation/Registration Date:
09/27/2006

Period of Duration:
PERPETUAL

Inactive Date:

Nature of Business:
ATHLETIC,PROMOTE AND SERVE THE SPORT OF BOXING.

REGISTERED AGENT                           RCW 23.95.410
 Registered Agent
                          Street Address                                   Mailing Address
 Name

                           1501 DOCK ST,TACOMA,WA,98402-3209,               1501 DOCK ST,TACOMA,WA,98402-3209,
 ROBERT E MACK                                                             UNITED STATES
                           UNITED STATES


PRINCIPAL OFFICE

Phone:


                                                                                         Work Order #: 2020092800511660 -1
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                                                                                                    Amount Received: $10.00
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2536271091

Email:
RBAGNARIOL@AVASA.COM.NI
Street Address:
AVE. AQUILINO DE LA GUARDIA & CALLE 47,OCEAN BUSINESS PLAZA,14TH FLOOR,OFFICE 14-05,
MARBELLA,PANAMA,PANAMA,081601091,PAN
Mailing Address:
AVE. AQUILINO DE LA GUARDIA & CALLE 47, OCEAN BUSINESS PLAZA,14TH FLOOR,OFFICE 14-05,
MARBELLA,PANAMA,PANAMA,081601091,PAN

GOVERNORS

Title                      Type                          Entity Name             First Name                  Last Name

GOVERNOR                   INDIVIDUAL                                            GILBERTO                    MENDOZA

GOVERNOR                   INDIVIDUAL                                            RENZO                       BAGNARIOL

GOVERNOR                   INDIVIDUAL                                            CARLOS                      CHAVEZ

GOVERNOR                   INDIVIDUAL                                            FRANCISCO                   PINA

GOVERNOR                   INDIVIDUAL                                            MARIANA                     BORISSOVA

GOVERNOR                   INDIVIDUAL                                            AURELIO                     FIENGO

GOVERNOR                    INDIVIDUAL                                           GEORGE                      MARTINEZ

 GOVERNOR                   INDIVIDUAL                                           WON                         KIM

 GOVERNOR                   INDIVIDUAL                                           OCTAVIO                     RODRIGUEZ

 GOVERNOR                   INDIVIDUAL                                           GUSTAVO                     PADILLA

 GOVERNOR                   INDIVIDUAL                                           JULIO                       QUINTERO

 GOVERNOR                   INDIVIDUAL                                           JULIO                       THYME



NATURE OF BUSINESS

   • ATHLETIC
   .PROMOTE AND SERVE THE SPORT OF BOXING.



EFFECTIVE DATE
Effective Date:
09/28/2020


CONTROLLING INTEREST
1. Does your entity own real property such as land or buildings (including leasehold interests) in Washington?
NO
2. As of January 1,2019, has there been a transfer of stock, other financial interest change, or an option agreement exercised that
resulted in a transfer of at least 16% percent interest in the entity?
NO
   a. If"yes", has the transfer of stock, other financial interest change, or an option agreement exercised resulted in a transfer of
controlling interest(50 percent or greater)?
NO
3. As of January 1,2019, has an option agreement been executed allowing for the future purchase or acquisition of the entity?
                                                                                                    Work Order #; 2020092800511660 - 1
This document is a public record. For more information visit www.sos.wa.gov/corps                               Received Date: 09/28/2020
                                                                                                                  Amount Received: $10.00
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NO


You must report a Controlling Interest Transfer Retum IF: you answered "y^s" to questions 1 AND 2a.

Failure to report a Controlling Interest Transfer is subject to penalty provisions ofRCW 82.45.220.

For more information on Controlling Interest, visit www.dor.wa.gov/REET.


RETURN ADDRESS FOR THIS FILING
Attention:
ROBERT MACK
Email:
RMACK@SMITHALLING.COM
Address:
1501 DOCK ST,TACOMA,WA,98402-3209, USA

EMAIL OPT-IN
I I By checking this box, I hereby opt into receiving all notifications from the Secretary of State for this entity via email only. 1
acknowledge that I will no longer receive paper notifications.

AUTHORIZED PERSON
Person Type:
INDIVIDUAL

First Name:
JULIO

Last Name:
QUINTERO
Title:
TREASURER
     This document is hereby executed under penalty of law and is to the best of my knowledge, true and correct.




 This document is a public record. For more information visit www.sos.wa.gov/corps                      Work
                                                                                                                      Amount Received: $10.00
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SMITH jALLINGps                                                       exhibitb
ATTORNEYS AT LAW
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                       RULES OF WORLD BOXING ASSOCIATION
                            (ASOCIACION MONDIAL DE BOXEO)




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 A.       GENERAL
          1.       Purpose. These Rules are intended to further the purposes of the Association, set
 out the norms by which the Association carries out the authority granted it under the Bylaws, and
 provide members and boxers the standards and obligations applicable to ratings, sanctioned bouts,
 and other Association activities.

          2.       Application. These Rules apply to all actions and decisions of the Association
regarding ratings, sanctioning of bouts, conduct of bouts, requests for explanations or
reconsideration, appeals, and related matters, and apply to all members,affected boxers, and their
agents. In addition, any legal claim or action against the Association by a member, boxer,
manager,promoter,or his or its agent is governed and limited by these Rules,including Rule F.18.
Any boxer ranked or recognized as a champion is bound by these Rules.
         3.       Interpretation. The authority to interpret these Rules is within the sole discretion
ofthe committee and committee chairman assigned the matter under these Rules, and finally with
the President. In the case of an appeal, the authority lies with the particular appeals panel and
finally with the President. In those instances when an interpretation of these Rules is warranted,
the Committee Chairman and President shall render the same consistent with the intent ofthe Rule.
Previous rules and interpretations thereof may be considered when appropriate for interpretation
of current WBA rules.

         4.       Preemption. In general, application of any Rule in conflict with a published
mandatory provision of law duly adopted and enforced by a national, state, or provincial
government, or with a regulation of an authorized national or local boxing commission, may be
superseded thereby.
         5.       Notice. Because there is no international official registry of addresses or related
information for boxers on which the Association can rely, it shall use reasonable efforts to ascertain
such information. Such efforts may rely on information previously submitted by boxers or their
agents found in the public domain. The WBA may notify boxers through their agents, or via the
WBA's website.

         6.       Definitions.

                 "ABC" means the Association of Boxing Commissions of the United States of
America.




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                   "Appeals" means an appeal by a member or boxer of an appealable ruling by a
committee, committee chairman, or officer.
                  "Appeals Panel" is that body appointed by the President to hear an appeal or
appeals, and constitutes the appeals committee established in the Bylaws.
                  "Association" is the World Boxing Association(or Asociacion Mundial de Boxeo).
                  "Boxer's agent"is any manager,and promoter, matchmaker,or other person legally
authorized by a boxer to represent him in relation to a matter covered under these Rules.
                  "Bylaws" are the bylaws of the Association adopted in 2004, and as thereafter
amended.

                  "Category" is a weight division.
                  "Champion" is a boxer recognized by the Association as a title holder in his
respective weight category.
                  "Contest" is a boxing match or bout.
                  "Day" means a calendar day.
                  "Interim Champion" means either an Interim Champion under Rules C.22-24, or
an Interim Champion under Rule C.30.
                  "Leading available contender" means a mandatory contender available to fight for
a title, or when there is no mandatory contender that boxer ranked highest and who is available
immediately to fight for a title.
                  "Manager" means a representative of the boxer. Each boxer contending for WBA
recognition must designate a Manager. The Manager fee identified in the appendices to these
Rules are applicable regardless of whether a boxer designates a Manager,and regardless oftitle or
description given to said representative.
                  "Mandatory contender" means the boxer recognized as the contender for a title.
                  "Medical Guidelines" mean safety guidelines. See attached Appendix A.
                  "Member" means a person in good standing with the Association as otherwise
identified herein.

                  "Official contender" means a mandatory contender.
                  "Officials" mean people with official duties at bouts: judges, the referee, and the
supervisor.




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                   "Other sanctioning organizations" means the International Boxing Federation
(IBF), World Boxing Council(WBC),and World Boxing Organization(WBO).
                   "Purse" means the gross total amount ofmoney and any other thing ofvalue a boxer
 receives,or is entitled to receive, as compensation for participating in a sanctioned bout. The purse
 includes the total amount due to the boxer, his assigns, creditors, contractors, agents, promoters,
 managers, or any other party for any alleged provision of services agreement, including any
amount the Boxer may direct or authorize, or is required, to be directed to any person or persons.
                   "Ratings" (or "rankings") mean the recognition of the relative qualification of
boxers in particular weight categories at a particular time.
                  "Rating Guidelines" means the "Guidelines on Ratings" (formerly "Norms and
Procedures for Ratings").
                  "Regional federation" means a regional, continental, or international association
recognized by the Association.
                  "Registered Promoter" means a promoter that has paid its yearly registration fee,
completed a Promoter Registration Form, is in good standing, and is duly authorized by the
Association to promote sanctioned bouts and participate in Purse Bids.
                  "Requests" include            Requests for Ratings Information, Requests for
Reconsideration, and Requests for Special Permits.
                  "Responsive bid" means a purse bid that fully complies with these Rules.
                  "Ruling" means a formal order or decision by a committee, committee chairman,
the President, or any other Association officer with the necessary authority, applying these rules
in a particular case, and includes orders or decisions on the following:
                           (1)       Sanctioning or not sanctioning a bout;
                           (2)       Recognizing or vacating a title;
                           (3)       Granting or denying a request for special permit;
                           (4)      Increasing, reducing, or otherwise modifying a mandatory defense
         period or its conditions;
                           (5)      Answering a formal request;
                          (6)       Granting or denying a protest concerning the conduct of a
         sanctioned bout;




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                            (7)      Rendering a decision on any other request to apply or interpret these
          Rules; or

                            (8)      Rendering a decision on any matter otherwise directly affecting a
          boxer's ranking or status.
                   "Sanction" means the official recognition given to a bout involving the following:
                  (1)       A title (all championships);
                  (2)       Mandatory contender position;
                  (3)       Contender eliminator; or
                  (4)       Box-off.
                  "Special Permit" means permission granted in special circumstances to alter or
suspend application of a rule or rules so as to better fulfill the purposes of this Association, or
provide exceptional bouts for the boxing world, and involves balancing competing interests.
                  "Title" means a championship.
                  "Unavailable boxer" is a boxer who is unavailable to defend or compete in a
sanctioned bout due to an injury, medical condition, legal impediment,or commitment to compete
in a different contest.

                  "Unified Champion" means the World Champion who has the recognition of the
Association and of one or more of certain other sanctioning organizations in the same weight
category.

                  "World Champion" means a champion recognized by the Association.
         7.       Amendment. These Rules may be amended by a majority vote of the Directorate
at any time, or the membership at the convention.
         8.       Titles. Chapter, section, and subsection titles do not constitute rules and should not
be used in any interpretation of these rules.
         9.       Forms. The President may approve forms to be used for the application of these
rules and for membership, including, but not limited to, the registration of promoters, application
for bout sanction, and special permits.
         10.      Gender. Terms using the male gender are applicable also to females.
         11.      Time. Under these Rules, time shall be computed by calendar days without regard
to holidays.
         12.      Currency. Any monetary references refer to US dollars.


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          13.      Members. To be in good standing with the Association, a promoter, manager, or
 boxer involved in any sanctioned bout is required to have paid the Association all fees owed,
 whether it be sanction fees, registration fees, or annual dues as established by the Association.




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 B.       RATINGS
          1.       Committee. The President shall appoint no fewer than three(3)and no more than
five (5) members to a Ratings Committee for terms established by the President. The President
 may also appoint non-voting members to advise and consult with the Committee. The President
shall designate the Committee's Chairman (Presiding Member). To the extent practicable,
regional representation may be reflected in membership. The names of the Committee members
shall be posted on the Association's website.
          2.       Gathering Information. The regional federations affiliated with the Association
may send the Committee information concerning the fights held under theirjurisdictions for boxers
rated by the WBA,as well as other relevant records for boxers eligible for future ratings by the
Committee. The Committee may also receive and consider information provided by any member,
or anyone representing a boxer who wishes to be rated.
         3.        Conferring. The Committee shall confer and otherwise exchange information
regarding ratings at such time and in such manner as established by the President or Chairman.
         4.       Publication. The Association shall publish a periodic list of rated boxers for each
weight division consisting ofat least ten(10)and no more than fifteen (15). The ratings should be
announced and posted timely on the Association website in the month following the month to
which the ratings apply. The weight divisions identified and published by the Ratings Committee
are the official weight class designations for the Association.
         5.       Relevant Information. The Committee may consult and consider the WBA
Ratings Guidelines in including, removing, promoting, or demoting boxers. These guidelines are
found as Appendix B to these Rules. The Committee may consider all relevant information,
including, but not limited to,ring performance,regional titles, bout activity, disqualifications, win-
loss records, difficulty ofbouts,technical decisions,failure to make weight, and any other relevant
information. The Committee may consider ranking regional title holders, taking into consideration
their relevant records.

         6.       Demotion and Removal. In addition to the above, the Committee may demote or
remove a boxer from the ratings based on any relevant factor, including, but not limited to, ring
performance, failure to maintain the required weight, loss to a non-rated boxer, loss of a regional
title, inactivity, violation ofthese Rules(including failure to pay or allow to be paid sanction fees),
failure to take or pass a required drug test, or any other relevant factor. A boxer also may be

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demoted or removed due to extraordinary events or activity, including, but not limited to, proven
or alleged criminal behavior, conduct that violates boxing regulations or rules, suspension by a
responsible authority, or other public behavior or statements ofa type that would affect the boxer's
ability to be licensed to compete or that are detrimental to public perception ofthe sport ofboxing.
         7.        Changed Weight. A rated boxer who changes weight categories is not assured any
rating in his new weight category.
         8.        Nature of Ratings. Ratings represent the best opinion ofthe Association as to the
relative qualification ofthe boxers in particular weight categories at a particular time and who are
available and willing to fight for the Association's title. Their retention by a boxer is conditioned
on compliance with these Rules. They do not constitute personal property,and are not transferable.
Their issuance does not constitute a contract or an element of a contract. Any boxer affected by a
change in rating may take such action as provided in chapter E, below.
         9.       Bylaws Reference. These rules constitute the "Norms and Procedures for Ratings"
cited in the Bylaws.




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C.        CHAMPIONSHIPS.

          1.       Belts. The Association shall adopt a World Championship Belt as a distinctive
symbol for the Champion in each recognized weight category. These belts shall be awarded to the
champion recognized by the Association.
         2.       Super Belts. Similarly the Association will grant Super Belts to those champions
that make 5 or 10 (if it was the case) successful defenses of his title. These Super Belts will be
named after those champions that have been able to defend their title 5 or 10 times. See Appendix
C for a listing of boxers who are qualified for a Super Belt.
         3.       Committee. The President shall appoint no fewer than three(3)and no more than
five (5) members to a Championships Committee, for terms established by the President. The
President may also appoint non-voting members to advise and consult with the Committee. The
President shall serve as an ex officio member ofthe Committee. The President shall designate the
Committee's Chairman (Presiding Member). The names of the Committee members shall be
posted on the Association's website.
         4.       Votes. The Committee shall confer in such a manner and at such times as directed

by the Chairman. A majority of the Committee (not counting the President) shall constitute a
quorum to consider and to decide any issue. A majority vote is sufficient to take action, unless a
two-thirds vote is required specifically elsewhere in these Rules.
         5.       Manner of Voting. The Chairman is empowered to request the vote of the
members of the Committee in person, or by mail, telephone, telex, cable, telegram, fax, e-mail or
any other similar means or any combination thereof. Notice of a vote generally should be given
to committee members and to any identified parties with a cognizable and direct interest in
sufficient time for them to be apprised ofthe issues related to the votes.
         6.       Titles. The Association shall establish and recognize world championships and
matches related thereto in each weight category or division established in its regulations.
         7.       Application. All Association members, rated boxers, champions, official
contenders. Registered Promoters, Managers, or participants in a sanctioned bout, are bound by
these Rules and are required to be familiar with them.




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         8.        Title Matches. An Association title can only be obtained as the result of a match
duly authorized by the Championships Committee. Unless otherwise approved under rules
C.46- C.49, only boxers rated by the Association are eligible to fight in sanctioned contests.
         9.        Single Title. An Association Champion can have only one world title in one
division at the same time. If a World Champion wishes to fight for a title in another division, he
must apply in writing to the Championships Committee for approval and must present a signed
document imdertaking that, in the event he wins the fight and obtains the other title, within five
(5)days ofthe fight he will choose the title he wishes to retain and relinquish the other title. Failure
to comply with any of these provisions is sufficient cause for the Championships Committee to
withdraw recognition from him of either title or both titles.
         10.      Non-Sanctioned Bout. An Association Champion or officially recognized
contender who participates in a fight without approval or sanction from the Championships
Committee, may have his title or recognized status removed.
         11.      Title Defense Periods. Unless otherwise directed by the Championship
Committee, a boxer who obtains a title by defeating a champion must defend his title initially and
subsequently against the Official Contender (if one is designated) or the leading available
contender, as follows:
                  a.       Non-Heavyweight Division: If the Official Contender, within nine (9)
months from the date the title was obtained; if not the Official Contender, within one hundred
twenty(120)days.
                  b.       Heavyweight Division:Ifthe Official Contender,within twelve(12)months
from the date the title was obtained; ifnot the Official Contender, within one hundred eighty(180)
days.
         12.      Vacant Title Defense Periods. A boxer who obtains a title in an eliminatory fight
for a vacant title must make his initial title defense as follows:

                  a.       Non-Heavyweight Division: Within one hundred and twenty (120) days
from the date the title was obtained.

                  b.       Heavyweight Division: One hundred and eighty days (180) from the date
the title was obtained.

         13.      Bout Limitations. Before the date by which he must commit to a mandatory
defense of his title against a Mandatory Contender or the next Leading Available Contender


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 designated by the Committee,a World Champion may defend his title against any opponent rated
 by the Association in his category. Within sixty (60) days of the expiration of the mandatory
 defense period, a World Champion may not fight a boxer who is not the Mandatory Contender, or
 the next highest ranked boxer (if there is no Mandatory Contender), nor may a designated
 contender fight during the same period for anything other than the championship. During the
 pendency of a required contract negotiation or purse bid period for a championship or eliminator
 fight, no champion, official contender, or boxer directly affected by the period can sign an
 agreement for, or participate in, a bout different than the one that is the subject ofthe negotiation
 or bid period.
         14. Rules Familiarity. Each boxer, promoter, manager,and boxer's agent is under the
 obligation to know and be familiar with all Association rules, including, but not limited to, those
regarding time periods concerning obligations to defend, compete for a title, and for Special
Permits. If a champion fails to comply with any rule of the Association, the Chairman of the
Committee may declare his title vacant. Likewise, failure by an official contender to comply with
any ofthese rules can result in removal by the Chairman ofrecognition as official contender.
          15.      Non'Titie Bout Loss. A loss in any bout, including a non-title or non-sanctioned
bout, may result in loss of the boxer's title or contender status unless provided otherwise by the
WBA Championship Committee.
       16. Modifying Defense Periods. In its sole discretion, the Championships Committee
may reduce, extend, or otherwise modify the periods for mandatory defenses in its sole discretion
when it deems reasonable either in response to a request for a Special Permit, or on its own
initiative.

         17.      Unified Title. The Association will recognize a World Champion as a Unified
Champion when he is also recognized as world champion in a comparable weight class by one or
more ofthe other sanctioning organizations. Likewise, it may also recognize a Unified mandatory
contender.

      18. Super Champion Status. In exceptional circumstances, the Championships
Committee and the President may designate a Champion (other than an Interim Champion) as a
Super Champion. The President and Committee may establish criteria for a Super Championship.
In such a designation, the Committee President may determine conditions and requirements of
defenses and retention ofsuch a title, including, but not limited to, the following:

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                   a.       Mandatory defense period;
                   b.       Sanction fees, including purse fees for both title and non-title bouts;
                   c.       In what manner and at what time an official contender for the Super Title
shall be named; and
                   d.       Such other conditions as the Committee and President deems warranted.

An official contender for a World Championship Title shall not thereby be considered to be an
official contender for a Super Championship. A Super Champion who loses a title or non-title
bout shall have no right to be ranked thereafter in the weight division. If the Committee and
President designate a Super Champion at the time the boxer is a World Champion,they may also
suspend the provisions of Rule C.27 and other rules applicable to a World Championship
inconsistent with the conditions and requirements under which they have designated a Super
Champion. If a President and Committee designate a Super Champion, the vacant regular title
need not be filled.

         19.      Unified Title Defense. A holder of a unified title is subject to all rules
requirements, including those regarding mandatory defense. In the intermediate period between
the mandatory defenses, a Unified Champion will be able to defend his title against any opponent
chosen from the official ratings list ofthe Association, or ofthe organizations recognized and with
the approval ofthose organizations. Ifthe defense is against someone other than the Association's
Mandatory Contender, approval must be obtained through a Special Permit.
         20.      Other Organizations. The Association will endeavor to work with other

sanctioning organizations to minimize any incompatibility in requirements for unified titles. The
WBA Championship Committee will not allow its World Champions to defend their Titles in
conjunction with any other Title other then WBO,IBF and WBC World Titles, this includes any
Alternative Titles said Organization may have.
         21.      Unified Bout Fees. Fees for unification bouts are govemed by the schedule at
Appendix D,but may be reduced within the sole discretion of the President.
         22.      Champion in Recess and Interim Title. When a World Champion is unable to
defend his title within the prescribed time periods for justifiable medical, legal, or other reasons
reasonably beyond his control, the inactive champion may be named a Champion in Recess and
the Committee may select official contenders who will fight for an Interim Title under Rules C.22-
24. The medical reasons must be documented to the satisfaction of the Medical Committee


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 Chairman, who also may require separate medical examinations. Legal reasons must be
documented to the satisfaction ofthe Legal Director and Championships Committee. In general,
the status of"Champion in Recess" may not be for a period longer than the applicable defense
period.
          23.      Return ofChampion in Recess. When a Champion in Recess returns after having
overcome to the satisfaction of the Championships Chairman whatever obstacle that caused his
inactivity, the Association may order a title bout between the Champion in Recess and the Interim
Champion,if one exists, or against another boxer designated by the Committee. If the Champion
in Recess is returning fi*om a medical recess, the Chairman may consult with the Medical
Committee Chairman and may require the boxer to provide documentation and undergo an
examination before he is allowed to return. A Champion in Recess cannot defend his title as
Champion in Recess,and may lose his status ifhe boxes anyone other than the Interim Champion.
         24.      Sole Championship. Ifthe Champion in Recess or Interim Champion is unwilling
to participate in a contest to determine a sole champion in the division, he will lose his portion of
the title, with the willing champion becoming the recognized Champion of the division. If both
the Champion in Recess and the Interim Champion refuse to participate in a required fight, both
shall lose their titles.

         25.      Rematches. Rematch provisions in bout contracts are not binding on the
Association.

         26.      Contested Decisions. A bout decision may be contested by a boxer if within ten
(10)days ofthe decision the boxer submits payment of a $10,000.00 fee, and the following:
                  a.       A concise statement by the boxer or his authorized agent setting forth the
grounds on which the challenge has been brought, arguments and authority in support, and
identification of other persons with a material interest likely to be affected by a decision on the
challenge.
                  b.       For the person filing the challenge, the following information:
                           • A postal address;
                           • An email address(if one exists);
                           • A facsimile address;

                           • A telephone number; and
                           • A signature ofthe boxer on whose behalf the challenge is filed.

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                   c.       If the challenge is signed by someone other than a boxer, a certified
 statement ofauthorization by the boxer to file the challenge.
          For good cause, the President may waive all or part of the fee. The fee must be paid by
 certified or cashier's check or wire transfer, and will not be set off against any amount claimed
 due by the party contesting the decisions. The Committee may request that the International
 Officials Committee,or a special officials committee, evaluate the fight and give their opinion and
recommendations to the Committee. The Championship Committee, in its sole discretion, may
 order the boxers fight a rematch. Failure to timely pay the fee or contest the decision shall waive
any and all right, claim, or argument ofthe boxer or his representatives to contest a decision.
          27.      Title Vacation and/or Removal of Recognition. A boxer's title, status, or
recognition may be lost, removed, or vacated for any ofthe following reasons:
                   a.       Loss in a bout(see Rule C.15);
                   b.       Violation of Association rules; or
                   c.       Suspension, charges, or criminal conduct alleged or found by a national,
state, or provincial agency.
         28.       Fining Vacant Title. In the event that a World Championship is declared vacant,
unless the Committee elevates an Interim Champion to Champion at its discretion, generally the
two (2) highest rated available boxers shall be designated by the Committee to fight for the title,
and shall have no more than thirty(30)days to submit a bout agreement.
         29.      Mandatory Contender Selection. A Mandatory Contender for each weight
division may be selected by the Championship Committee or through an eliminatory bout. The
selection may be subject to conditions. Generally, the highest rated boxer in the division, or
regional champion rated in the top 5, shall qualify to be named the official contender by the
Championships Committee, unless he is, or is likely to be, unavailable to fight for the title in the
period required. The Committee may remove a boxer's recognition as Mandatory Contender for
failure to comply with these Rules or failure to comply with any condition of the appointment as
Mandatory Contender.
         30.      Elimination Bout. The Championships Chairman may notify the two highest
ranked available boxers, or the highest ranked available regional champions, or a combination
thereof, ofthe obligation to meet in an elimination bout to become a mandatory contender, giving
them dates by which the negotiations must commence and be concluded. The Committee may

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 designate the elimination bout to determine a Mandatory Contender simultaneously as a bout to
 determine an Interim Champion solely under this rule. A Mandatory Contender who also serves
 as an Interim Champion may not engage in a bout to unify the title with another or be recognized
 as a Unified Champion. All aspects ofthe Interim Championship under this section are governed
 by the rules applicable to a Mandatory Contender and not Rules C.22-24, except that the
 Committee has the discretion to appoint as Champion the Interim Champion under this rule in the
case of a title vacancy. An Interim Champion under Rules C.22-24 or C.30 may be required to
defend the title every six(6)months,or as otherwise determined by the Championship Committee.
          31.      Box Off. In the alternative, the Championships Chairman may order a Box Off
between four (4) available ranked boxers to determine the mandatory challenger in a specific
weight class. The Chairman may consider the highest ranked regional champions, and will give
the selected contenders dates by which the negotiations must commence and be concluded. If a
boxer is unwilling to participate in a Box Off,the Chairman may designate another challenger. No
extensions oftime will be allowed for participation in an elimination or box off bout.
         32.       Negotiation Period: Elimination Bout or Box Off. The Championships Chairman
may grant boxers selected to participate in an Elimination Bout or a Box Off a negotiation period
ofno more than 30(thirty) days to reach an agreement. If no agreement is reached within the time
indicated, the Chairman shall call a Purse Bid.
         33.      Removal for Failure to Participate. If a boxer declines to participate in a
Mandatory Defense,Elimination Bout,or Box Off, his title may be vacated, or he may be demoted,
or removed from the rankings.
         34.      Bout Fees. The President shall establish, and may amend, fee schedules for
membership, sanction and related fees. The fee schedules for sanctioned contests are attached as
Appendix D to these Rules.
         35.      Fee Payments. The Registered Promoter who has requested or been granted
sanction ofa bout is responsible for payment ofall sanction, promoter,and manager fees, and must
submit documentation of payment to the Chairman, together with the formal application for the
sanction ofthe fight and a copy ofthe contracts between the promoter and the boxers duly signed
by them no later than thirty (30) days before the bout. No boxer or boxer's agent shall have any
authority to direct a promoter to pay, nor may a promoter pay, any less than the full amount ofthe
sanction fees owed. Fees shall be determined by the Association based on the total purse owed

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 the boxers. Fees based on the purse of both boxers must be paid. In addition, payment of annual
 dues or registration fees for promoters and managers may be assessed and collected as part of all
 required bout sanction fees. Failure to comply with any of these requirements may result in non-
 sanction of the contest and removal of recognition of any boxer participating in the bout. The
 Chairman or President may modify the requirements ofthis section in his sole discretion for good
cause.


          36.      Fees: Vacated Bouts. Ifa fight does not occur after it has been sanctioned, neither
the promoter nor the boxers shall be entitled to reimbursement of any ofthe amounts paid for the
sanction ofthe fight, except for dulyjustified causes offorce majeure,to be determined in the sole
discretion ofthe Chairman.

         37.       Fee Collection. The Chairman and the Treasurer shall be responsible for collecting
all promoter registration, manager fees, and sanction fees related to sanctioned contests.
         38.       Officials. The Association shall keep an updated list of officials qualified to act in
a sanctioned bout. The President shall appoint bout officials.
         39.      Insurance. All officials appointed by the President shall be protected by a policy
for accidental death for the appointed bout, and Supervisors shall be covered by a life insurance
policy against accidents while carrying out duties at a sanctioned fight.
         40.      Compensation of Officials. Officials shall be compensated as set out in Appendix
D, which may be amended at the discretion of the President. No official shall receive any other
compensation for services in a sanctioned bout. Officials must receive their compensation no later
than the date ofthe bout.

         41.      Supervisor. The President shall attend, or shall appoint a member ofthe Directory
to represent him, as the Supervisor for sanctioned bouts. The Supervisor shall assist the local
commission to carry out the fight and to ensure that all Association rules are followed. The
Supervisor shall be granted access to the weigh-in to confirm and verify the weights, and
participate in the rules reading meeting. The Supervisor shall be provided a ring apron seat for the
bout and a ringside seat for the event. The Supervisor shall be announced before the bout and
granted access to the ring prior to the bout for announcements and after the bout to present the belt.
In exceptional circumstances, when a directorate member cannot serve as a Supervisor, the
President may appoint a member who is not on the directorate. The Supervisor must report on the
fight for which he was appointed within ten(10) days from the bout.


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         42.      Supervisor Authority. During a sanctioned contest or its related preliminary
matters, a Supervisor is empowered to resolve unforeseen issues that require an immediate
decision.

         43.      Travel. The promoter shall provide or reimburse Business class airfare as well as
meals and hotel accommodation in a first class hotel for the Supervisor. Unless otherwise agreed
to, the Supervisor and officials must be at the city or metropolitan area where the bout will take
place three(3) days prior to the fight.
         44.      Drugs. The President may suspend any boxer or Association member involved in
illicit drug use or distribution.
         45.      Drug Testing. The President may determine conditions for drug tests, or appoint a
committee to do the same. The Association may order periodic drug tests for any boxer who has
tested positively for prohibited substances. No boxer who has tested positive for prohibited
substances can be rated, retain a title, or be permitted to fight in a sanctioned bout for a period of
no less than six (6) months from the date of the positive test. Only the official testing authorized
or directed by the Association or local commission shall be considered. No independent or after-
the-fact testing will be considered.
         46.      Special Permits. Strict application of these rules may be suspended or modified
when the Association deems them justified in its sole discretion to accommodate special
circumstances, to unify championships or to establish a Super Championship. In such cases, the
Association will consider a request for Special Permit(or Exception) for any reasons including,
but not limited to, the following:
                  a.       To engage in an optional title defense otherwise barred by a mandatory
defense requirement, or to fight someone not the mandatory or leading available contender;
                  b.       To fight for a title in a different weight division for the Association or for
another sanctioning body;
                  c.       To engage in a non-title bout;
                  d.       To unify an Association title with that of another organization;
                  e.       To engage in a bout of recognized importance and significance for the
boxing world;
                  f.       To establish a Super Championship; or
                  g.       To extend or otherwise modify a mandatory defense period.


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         47.       Considering Special Permits. Special permits may be granted, denied, or granted
conditionally for good cause. They shall be approved by a two-third vote of the Championship
Committee and the consent of the President. The Committee and the President in their sole

discretion shall consider the best interests of boxing, the purposes and policies ofthe Association,
and such other factors that may be relevant, and shall make their best effort to balance competing
interests. The Association is not obliged to grant a request for Special Permit. When approving a
request,the Association may require such conditions as it deems necessary to protect the interests
ofthe Association and affected boxers.

                   Requests to engage in a title unification bout shall be given special consideration,
and the committee and President may give greater weight to the reasons and arguments for such
requests, in recognition ofthe interest ofthe boxing community to effectuate title unifications. In
addition, in the establishment of a Super Championship, the provisions of Rule C.18, and other
relevant Rules, shall apply.
         48.      Special Permit Fee. A request for special permit must be accompanied by payment
to the Association of a non-refundable fee set out in the Appendix D schedule attached hereto,
unless the fee is previously waived in whole or in part by the President in his sole discretion for
good cause shown. Unless being previously granted a waiver of said fee, a Special Permit
Application submitted without the applicable fee will not be considered.
         49.      Special Permit Consideration. Special permit requests shall be made in the form
prescribed by the President, and a copy shall be provided by the applicant to other boxers known
to be materially affected by the request. The Association shall use reasonable efforts to provide
such other boxers adequate time and opportunity to comment on the request before a final
determination is made. Generally, only a champion may request a special permit. A boxer who is
not a champion may request a special permit, but only if allowed to do so by the President. As a
condition of granting a Special Permit, the Permit applicant shall agree in writing to defend,
indemnify, hold harmless, and otherwise reimburse the Association for any damages, fees and
costs relating to a grant of the request, including, but not limited to, legal fees and other fees and
costs. Permission to engage in a bout for a Super Championship or to unify a title may be
considered without the necessity offiling a request for special permit.
         50.      Rated Boxer. A rated boxer has no right to fight any specific boxer.



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 D.         PURSE BIDS

 1. Call for Purse Bid. Bout participants shall reach an agreement on holding the bout no later
      than ninety(90)days before the expiration ofthe mandatory period. To confirm an agreement
      has been reached, the WBA must receive acceptable bout contracts signed by the boxers
      certifying they have reached terms for the bout. If no agreement has been reached, the
      Championships Committee,with the approval ofthe President,can call for Purse bid. A boxer
      may also request a purse bid at any time.
2. Notification of Purse Bid. The Chairman ofthe Championships Committee shall notify each
      Registered Promoter of the call for Purse Bid. Notification of the call for Purse Bid shall
      include names of the relevant boxers, weight class, the date for bids to be accepted, and the
      time and place of bid opening. The date set for the Purse Bid opening will be at least 10 days
     from the date notification is given, unless a shorter time is necessary due to extraordinary
      circumstances. Once notification ofthe call for Purse Bid is issued, the Purse Bid will not be
      cancelled except for extraordinary reasons.
3. Purse Bid Participation. Only Registered Promoters in good standing with the Association
     on the date on which notification of the call for Purse Bid is given may participate. The
     President may grant an exception to this Rule. Additionally, each Registered Promoter shall
     pay a non-refundable fee to the Association according to point 6 in Appendix D
4. Form of Bids. Bids shall be directed to the President or the person whom he appoints to
     conduct the bid opening on the day and at the time and place indicated in the call for Purse
     Bid. To ensure the integrity ofthe bidding process, a Registered Promoter or a representative
     must personally submit a written bid in a sealed envelope. No bid will be opened until all bids
     to be considered have been submitted. All bids will be kept confidential until the Director of
     the Purse Bid properly opens them. A bid opening may be cancelled by the Chairman in
     special circumstances, and according to conditions set by him.
5. Bid Forms. In order to standardize the bidding procedure, the Championships Committee
     shall prepare forms containing bid requirements. These forms will be made available to
     promoters, and must be properly completed and submitted to the director ofthe Purse Bid on
     the day ofthe bidding.
6. Bid Content. The forms shall contain the following information:


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      a. Amount ofthe Bid. The purse amount shall be the total amount ofeach boxer's purse.
      b. Date ofthe Fight. The date on which the fight will be held shall be no more than ninety
           (90)days nor less than forty-five(45)days from the date ofthe Purse Bid.
      c. Site ofthe Fight. No more than three(3) places (cities or metropolitan areas) where the
           fight may be held.
      d. Tickets. Assurances that the winning promoter shall fumish a minimum offive(5)airline
           tickets in economy class to the champion from his residence or training camp to the place
           ofthe bout,and the challenger with four(4)tickets in economy class. In case the fight is
           for a vacant title, both boxers shall receive four(4)tickets.
7. Warranty Deposit The bid must be accompanied by cash, certified check, or cashier check
      payable to the World Boxing Association, in legal currency of the United States of America
      (US Dollars) for the amoimt equivalent to at least ten percent(10%)of the total Purse Bid.
      This amount shall be submitted in a sealed envelope. Refunds can be made only to the person
      who submitted the bid.

8. Minimum Amounts. The required minimum bid amounts are found on the attached
      Appendix E. Minimum bid amounts may be reduced by the President when justified by
      special circumstances.
      9. Disbursements of Bids Proceeds. Disbursements of Bids Proceeds. The boxers' Purse
      shall be distributed as follows:

                  a.       75% to the Champion and 25% to the Challenger.
                  b.       75% to the Super Champion and 25% to the Challenger, even if it is the
                           Champion.
                  c.       50% to each contender in the case of vacant titles or elimination bouts.

                  d.       55% to the Champion in Recess and 45% to the Interim Champion, in the
                           event of such a bout.

10.      Winning Bidder. The Registered Promoter submitting the highest qualified bid shall be
         awarded the bout. The Promoter's deposit will be returned to the Promoter after the bout
         takes place and all bout obligations have been met, less any applicable fees, costs or
         expenses.

11. Purse Offer Contracts. The Promoter winning the Purse Bid shall have all bout contracts
      properly signed and delivered to the Championships Committee Chairman no later than


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      twenty (20) days from the date on which the winning bid is awarded. The contract shall
      include all elements required by these Rules, including the date and place for the bout. Ifthe
      parties cannot agree on remaining terms of a bout contract,those terms may be prescribed by
      the President.

 12. Timing of the Bout. The bout shall be scheduled to take place not less than forty-five (45)
      days and not more than ninety(90)days from the date ofthe bid award,unless a different date
      is agreed to by the boxers and approved by the Championships Committee, or is otherwise
      approved by the Championships Committee to meet exceptional or unforeseen circumstances.
13. Non-Transfer. The winning promoter may not transfer his obligations or rights to a third
      party or parties without the approval ofthe President.
14. Failure to Promote a Bout. If a winning promoter fails to meet any of the requirements to
      promote the bout in accordance with these rules,the right to promote the bout will be revoked
      and may be granted to the promoter who made the second highest qualified bid. In the event
     the promoter originally winning the bid does not promote the bout according to the terms of
     the winning bid, the promoter's deposit is forfeited. The Association shall retain ten percent
     (10%)ofthe deposit, and the remaining ninety percent(90%)shall be distributed as follows:
     a. Seventy-five percent (75%) to the Champion and twenty five percent (25%) to the
           Challenger;
     b. Fifty percent(50%)for each boxer in the case of a vacant title; and
     c. Fifty-five percent(55%)to the Champion in Recess and forty-five(45%)to the Interim
           Champion.
15. Failure to Sign.

     a. If the champion does not sign a bout contract within the required twenty(20)day period
           after the bid award, or refuses otherwise to participate in the bout for the winning
           promoter, he shall be considered in violation of these Rules, and may have his title
           vacated.

     b. If a boxer does not sign a bout contract within the required twenty (20) day period after
          the purse offer, or refuses otherwise to participate in the bout for the winning promoter,
          the boxer will be considered in violation ofthese Rules, and may forfeit his status.
16. Failed Bid. If no qualified bid is received in response to the first purse bid request, or if the
     winning promoter or a boxer identified in the purse bid award fails to comply with these Rules,


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      the Committee may request a second purse bid. In the case of a title defense, if no qualified
      bid is received in response to a second purse bid, the Chairman may vacate the title and the
      position of mandatory contender.
 17. Multiple Failed Bids. In the case of a vacant title, if there are two failed purse bids, the
      affected boxers may lose the privilege that their position in the rankings gave them to compete
      for the title. The Chairman may summon immediately a third Purse Bid for the two boxers
      who were to participate in the deserted Purse Bids and also two other rated boxers, named by
      the Committee. Bids may be made for a title fight between any two of the four boxers, and
      the boxers named in the highest responsive bid shall fight for the title.




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 E.       CONTEST RULES


          1.       Application. The Contest Rules apply to all bouts sanctioned by the Association.
 A boxer may be disqualified for failure to adhere to any Contest Rule. The Rules may be modified
 in certain respects for women bouts.
          2.       Bout Duration. All sanctioned bouts shall be scheduled for twelve (12) rounds.
 Each round shall be scheduled for three(3) minutes duration with a one (1) minute rest between
roimds.

          3.       Scoring. Thejudges shall score and decide the result ofa bout using the"Ten Point
Score System". The winner of a complete round shall be entitled to ten (10) points and the
opponent to a proportional smaller number. Rounds may be scored even if a Judge cannot
determine a winner of the round. All roimds must be scored, even when incomplete. A score
should not be less than ten (lO)-seven (7), unless a different scoring system is mandated by law or
is applicable to a unified title bout, or the referee has taken away points. Scores will be announced
only at the end of a bout.
        4.      Deducted Points. When one or both contenders have points deducted, the judges
will register the deduction on their scorecards. If a fight must be stopped in a round where points
were deducted and it is necessary to go to the scorecards, the points deducted by the referee in that
round shall be considered.

         5.        Weighing. The official weigh-in and rules review for a sanctioned bout shall be
carried out between 16 and 36 hours before the bout. The Supervisor may require the boxers or
their agents at the time ofthe rules review to certify in writing that they have agreed to the terms
ofthe bout and the WBA Rules and Regulations.
         6.       Scale. The scale to be used at the official weighing shall be available to both boxers
at least two(2)hours before the official weighing time.
         7.       Delayed Bout. If a sanctioned bout is delayed more than 48 hours, additional
weighing is required.
         8.       Making Weight. If a boxer fails to make the required weight limit at the official
weighing, he shall have two (2) additional hours to make the prescribed weight. He shall make
his best effort to reduce his weight accordingly.



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         9.       Failure to Make Weight.

                  a.        The Association may penalize any boxer who fails to make weight by
imposing a monetary fine, and demoting or suspending the boxer.
                  b.       Ifa champion makes weight and a challenger fails, the champion shall retain
the title if he wins, however,if the champion makes the weight and loses the bout, the title will be
vacated.

                  c.        Should both boxers fail to make weight after the two (2) additional hours
given, the title shall be declared vacant, and the bout may be staged as a non-title match. Both
boxers shall be subject to removal or demotion in the weight division.
                  d.        Should a champion fail to make weight after the additional two (2) hours
period, he shall lose his title. Ifthe challenger makes weight, and the challenger wins the bout, he
shall be crowned the new champion. If the champion who did not make the weight is the winner
ofthe fight, the title shall be declared vacant.
                  e.       Absent contractual provisions to the contrary, if the bout takes place, a
boxer who does not make weight after the two-hour extension shall forfeit 35% of his purse, with
25% going to the promoter and 10% to his opponent. In addition, the boxer shall pay the
Association the bout sanction fee. A boxer who refuses to attempt to make weight during the two-
hour extension shall forfeit 45% of his purse, with 30% going to the promoter and 15% to his
opponent.

                  f.       To the extent applicable, the same rules apply to an eliminator or other
sanctioned bout.

         10.      Downed Boxer. A boxer shall be considered "down" when, as a result of a legal
blow, any part of his body, except his feet, makes contact with the floor of the ring, or when he
hangs helplessly over the ropes.
         11.      Knockdown. When a boxer is knocked down,the referee shall order the opponent
to retire to the farthest neutral comer of the ring in relation to the down boxer, pointing at such
comer, and he shall immediately count the seconds in a loud voice, with a movement of his arm,
taking the count from the timekeeper. If the boxer refuses to go to the farthest comer determined
by the referee, or does not stay there, the referee shall stop the count to the down boxer until his
opponent retires to the indicated comer, and then the referee shall continue with the count starting
from the point fi-om which it was intermpted. If the downed boxer does not rise before the coimt


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of ten (10), he will be declared the loser by KO (Knockout), and the referee shall make it known
by waving both arms. A boxer who rises and can continue the bout shall receive a minimum count
of eight(8)seconds.
          12.      Automatic Knockout. Three (3) knockdowns in the same round constitute an
automatic knockout.

         13.      Outside of the Ring. A boxer knocked through the ropes onto the ring apron will
be given ten(10)seconds to regain his feet and get back into the ring. If under the same conditions
a boxer falls through the ropes onto the floor, clear ofthe ring, he will be given twenty(20)seconds
to get back into the ring and regain his feet, unassisted by any ofhis cornermen. In either situation,
the referee may rule a knockdown. Ifthe boxer is assisted by a cornerman, he shall be disqualified.
Ifthe boxer is assisted by anyone other than a cornerman, the referee shall determine what action
shall be taken.

         14.      Knockdown at End of Round. The referee shall count the seconds to a downed

boxer even after the bell. Ifthe downed boxer fails to rise before the count often(10), he shall be
declared loser by KO in the round that has just finished.
         15.      No Saved bv the Bell. A boxer legally knocked down cannot be saved by the bell
in any round.
         16.      End of Round Blow. A blow given at the same time as the bell rings will be
considered a legal blow.
         17.      Fouls. The referee shall prevent accidental and intentional fouls, including
headbutts. The referee is the only person authorized to stop the fight and to decide whether an
injury was caused by a foul. Intentional fouls may result in a loss of points or disqualification,
subject to the referee's discretion.
         18.      Late and Low Blows. In case of an accidental low blow or other accidental blow

after the bell, the referee shall determine if the boxer who received the blow may continue the
fight. Because the protector used by a boxer is considered sufficient protection, a bout cannot be
terminated by a low blow. If the capacity of the boxer has not been endangered as a result of the
blow, then the referee shall order the fight to resume, after an interval which is subject to the
referee's discretion but which shall not exceed five minutes. A boxer unable or unwilling to resume
the fight after the referee orders him to resume fighting shall lose the fight by Technical Knockout
(TKO).


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          19.      Serious Injuries. When an injury produced by a fair blow is so serious that the
 bout cannot continue, the injured boxer shall lose the fight by TKO.
          20.      Terminated Bouts.

                   a.       Intentional: If a boxer is injured as a result of an illegal intentional blow
 and cannot continue fighting, the offender boxer shall lose the fight by disqualification. If as a
 result of an intentional illegal blow a boxer causes an injury to his rival, the referee shall take a
 mandatory and automatic two (2) point deduction fi-om the offender. If as a result of that injury
the referee determines that the injured boxer cannot continue fighting in later rounds,the result of
the bout shall be determined by thejudges'scorecards as long as four rounds have been completed.
If the injured fighter is ahead on the scorecards, he will be declared the winner by technical
decision. Ifthe injured fighter is behind or drawing on the scorecards, the fight shall be declared a
technical draw. If the situation described in the above paragraph occurs before the completion of
the fourth round, the fight shall be declared a no decision or a draw. Ifa boxer injures himself by
attempting to commit an intentional foul to his rival, the referee shall not take any action in the
offender's favor and the injury shall be considered as a result of a legal punch.
                   b.       Accidental: Ifa boxer is accidentally injured and caimot continue fighting
before the completion ofthe fourth round, the fight shall be declared a technical draw. If a boxer
is accidentally injured and as a result the referee determines that he cannot continue fighting in
that or later rounds, the result ofthe fight shall be determined by the judges' scorecards as long as
four rounds have been completed. The fighter ahead on the scorecards shall be declared the winner
by technical decision. If there is a draw in the scorecards, the bout shall be declared a draw.
         21.      Referee's Authority. The referee shall exercise immediate authority, direction,and
control over the fight to which he has been designated, and it shall be his responsibility to enforce
the rules and regulations goveming the bout. The referee shall be the only authorized person to
determine if a foul has produced an injury, and ifit was accidental or intentional. The referee shall
have the authority to stop a fight and make a decision if he considers that the bout has become
dangerously one-sided, or if any ofthe boxers is in such condition that ifthe fight continues he is
likely to suffer serious injury. He may disqualify a boxer or cornerman. He may consult the
physician in attendance on whether the contest should be stopped.




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         22.       Ringside Physician. The ringside physician may only step up to the ring between
rounds or when requested by the referee. He will give his opinion discreetly to the referee and
avoid any gestures or signals that could be erroneously interpreted by the public.
         23.       Medical. The local commission or governing authority will determine the number
of doctors and medical equipment required for the bout, and the necessity and rules for medical
and drug testing. The Medical Guidelines are advisory only.
         24.      Drugs. Use of unauthorized drugs or stimulants by a boxer is prohibited. The
Association encourages drug testing of the boxers in any sanctioned contest. If the local
commission does not require such testing,the promoter shall be responsible for doing so according
to procedures recognized by the WBA. The list of prohibited substances is as published by the
International Olympic Committee (IOC) or other agency as authorized by the WBA. The
Supervisor's report shall address whether the local commission required drug testing and the
circumstances of any drug testing. The Supervisor may observe drug tests, but the Association
itself will not conduct such tests.

         25.      Allowed Substances. An authorized homeostatic may be allowed to control
bleeding of minor cuts or lacerations. Homeostatic solutions based on iron, such as Monsel
solution, and other caustic solutions are prohibited. The ringside physician is authorized to
examine for such substances during the fight. During the fight, boxers may only ingest water. The
discretionary use ofpetroleum jelly around the eyes shall be allowed.
         26.      Gloves. The weight ofthe gloves to be used in world championship bouts shall be
as follows:

                  a.       From Super Welterweight up to and including Heav3^eight: ten (10)
ounces.


                  b.       From Minimum up to and including Welterweight: eight(8)ounce gloves.
                  Ifthe bout contract does not identify the brand ofgloves to be used, the brand shall
be determined by the Local Commission.
         27.      Taping and Bandaging. The following standards shall apply to taping and
bandaging of hands, although the local commission and referee may allow variations.
                  a.       The binding ofthe surgeon's tape must not be applied less than one(1)inch
from the knuckles of the contender's hands. A boxer may use his bandage as he likes, provided
that the knuckles of his hand are not covered by the surgeon's tape.


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                   b.       Bandage requirements are as follows:
                            (1)      In all categories up to and including Middleweight: the bandage
          shall be of no more than ten (10) yards of soft gauze, no more than two (2) inches wide,
          and no more than six (6)feet ofsurgeon's tape ofone inch for each hand.
                            (2)      In all categories between Super Middleweight and Heavyweight: the
          bandage of the hand shall be of(12) yards of soft gauze of no more than two (2)inches
          wide, and no more than one inch wide of(8)feet ofsurgeon's tape, one inch wide,for each
          hand.

                           (3)       In all divisions up to and including Super Middleweight, the hand
          bandage can be increased to a maximum of twelve (12) yards and no more than two (2)
          inches wide, and eight(8)feet ofsurgeon's tape ofone(1)inch for each hand.
                           (4)       In all divisions fi-om the Light Heavyweight to Heavyweight, the
          hand bandaging can be increased to a maximum of fourteen (14) yards and no more than
         two(2)inches wide, and ten(10)feet ofsurgeon's tape of one(1)inch for each hand.
         28.       Ring. The rings to be used in any World Championship bouts shall measure no less
than eighteen(18)feet(5.486 m)and no more than twenty-four(24)feet(7.315 m)long for each
side between the ropes. The ring floor shall extend no further than the ring by eighteen(18)inches
(45.72 cm). The ring padding shall consist ofone(1)inch layer of"Ensolite Boxing Ring Pad" or
similar material applied over one-inch base of Celotex Building Board or similar material. The
padding shall be covered with canvas, drill or similar material tightly tied under the platform.
         All boxing rings must be equipped with four parallel ring ropes each no less than one (1)
inch thick in diameter. Such ropes shall be manila,synthetic, or plastic rope or any similar material
and shall not be made of metal of any type. The first rope shall be eighteen(18)inches above the
ring floor, the second rope shall be thirty (30)inches above the ring floor, the third rope shall be
forty two(42)inches above the ring floor, and the fourth rope shall be fifty four(54)inches above
the ring floor.
         These general standards may be adjusted for a bout with the approval of the local
commission and referee.

         29.      Mouthpiece. All boxers are required to wear a mouthpiece during competition. A
second mouthpiece must be available from a boxer's second. Ifa mouthpiece is dislodged during
competition, the referee will call time and replace the mouthpiece at the first opportune moment,

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 without interfering with the immediate action. Points may be deducted by the referee, if he feels
 the mouthpiece is being purposely spit out.
          30.      Protector. A protector (belt and cup) shall be required for boxers participating in
 sanctioned fights. The protector shall not exceed the navel or the superior anterior iliac spine. The
 trunks shall go one(1)inch over the protector. Boxers shall have the trunks and protector available
 at the weighing ceremony so that the supervisor or referee may approve or disapprove them.Before
 beginning the fight,the referee will verify that both contenders use their protectors below the navel.
        31. Seconds. Each boxer shall be allowed no more than four(4)seconds(cornermen),
 one of whom shall be designated as responsible for behavior of all seconds/cornermen during the
 bout. Only one second/cornerman is allowed in the ring between rounds.
          32.      Highlights Document. The President may issue a document entitled "Highlights
of Contest Rules"(or Contest Rules Summary),for use by officials and boxers, summarizing the
rules applicable to a sanctioned contest.
         33.       Officials. If appointed by the President, the following shall represent the
Association at sanctioned contests: a Supervisor, a Referee, and three judges. In emergency cases
when one or more of the three appointed judges is unable to carry out his duties, the Supervisor
may appoint another Association member,including the referee, to serve as judge.




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 F.       REQUESTS FOR RATINGS INFORMATION, RECONSIDERATION OR
APPEALS


          1.       Ratings Reconsideration. A person directly affected by a decision of the Ratings
Committee may file a formal Request for Ratings Information or Request for Reconsideration, or
both.

         2.        Championships Reconsideration. A person directly affected by a decision ofthe
Championships Committee may file a formal Request for Reconsideration.
         3.       Informal Requests. A person may also make informal requests for information
from the Association, and such are not covered by these rules.
         4.        Request for Ratings Explanation (Ali Act Reauestl. The following procedures
apply to a boxer's request for the rationale (or explanation) his rating, when filed under the terms
of United States statute (15 U.S.C. §6301 et seq.T In order for such a request to be considered to
have been filed under the terms ofthat statute, the request must be made within ten(10)days after
the latest rankings are published, in the form and according to the procedures set out here. Failure
to timely request an Explanation shall constitute a waiver by the boxer and his agents of any and
all claims. No additional remedy may be sought from a court oflaw.
                  a.       The request must be in writing and include all ofthe following:
                           (1)       A statement by the boxer or an authorized agent ofthe boxer setting
         out the request for explanation ofthe Association's rating ofthe boxer. The statement must
         be signed by the boxer.
                           (2)       For the person making the request, the following information:
                                    • A postal address;
                                    • An e-mail address (ifthere is one);
                                    • A facsimile address;
                                    • A telephone number; and
                                    • A signature ofthe person making the request.
                  b.       The request must be sent to the Chairman ofthe Ratings Committee and to
designated legal counsel in the United States (the Association Legal Director) by registered mail.
The addresses ofthe Chairman ofthe Ratings Committee and the designated legal counsel may be
found on the Association's website.


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                   c.       Within seven (7) days after receipt of a request that conforms to the
 requirements set out above, the Association will respond in writing explaining the rationale or
 basis for its rating ofthe boxer in question.
                   d.       After receiving the answer ofthe Association in response to the request, the
 boxer making the request, or his agent, may then file a request for reconsideration of the rating.
The request for information by itself shall not be deemed to constitute either a request for
reconsideration, or an appeal, ofthe rating.
          5.       Request for Reconsideration. The following procedures apply to a request for
reconsideration from a boxer regarding a rating, a decision by the Ratings or Championships
Committee, a decision regarding membership, or any other WBA decision.
                   a.       The request must be in writing and include the following:
                           (1)       A statement in conformance with subsection F.5(e) below.
                           (2)       For the person making the request, the following information:
                                    • A postal address;
                                    • An e-mail address;
                                    • A facsimile number;
                                    • A telephone number; and
                                    • A signature ofthe person making the request.
                           (3)       A fee of$10,000.00 US in the form ofa cashier's or certified check
         or wire transfer must be submitted to cover the reasonable costs of the Association in
         conducting procedures relating to the request for reconsideration. The fee will not be "set
         off'or"debited" against any amounts the party requesting reconsideration claims it is owed
         by the Association.
                  b.       The request and the fee must be sent to the Association by registered mail
within ten(10)days ofthe date ofthe decision for which the request is made. Ifthe request is for
ratings reconsideration, said request must be filed within ten (10) days after the latest ratings are
published. Failure to timely request reconsideration shall constitute a waiver by the boxer and his
agents ofany and all rights or claims. No additional remedy may be sought from a court of law.
                  c.       The request must be sent to the Chairman ofthe Ratings Committee, and to
designated legal counsel in the United States (the Association Legal Director), if the request
concerns a rating decision. The request must be sent to the Chairman of the Championships

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 Committee, and to designated legal counsel in the United States(the Association Legal Director),
 if the request concerns a decision of the Championships Committee. The addresses of the
 Chairman of the Ratings Committee, the Chairman of the Championship Committee, and the
designated legal counsel shall be provided on the Association's website.
                   d.       The Association will respond within fifteen (15) days after receipt of a
request that conforms to the requirements set out above, or explain why a longer time to respond
is warranted.

                   e.       A request must include a concise statement ofthe subject ofthe request,the
grounds on which the request has been brought, arguments in support of the request, and
identification of other persons with a material interest likely to be affected by a decision granting
or denying the request.
                  f.        The Chairman ofthe respective committee may require further information
from the requestor, as well as from anyone whom the Chairman has reason to believe may have
relevant information or comments related to the subject of the request. In the case of a request
regarding a rating, the filing of a request places the affected boxer's rating imder review. The
Chairman shall consult with his Committee and have the Committee vote on the request. He shall
issue a decision on the request, setting out whatever findings, conclusions, or application of the
Rules or other legal authority the Committee deems to be applicable to consideration ofthe request.
                  g.        After receiving the answer ofthe Association in response to the request,the
boxer making the request or on whose behalfthe request was made may then file an appeal ofthe
decision. The request by itselfshall not be deemed to constitute an appeal. An appeal must comply
with those sections dealing with appeals, and may not be considered unless all applicable
administrative procedures have been met and all administrative reviews have been exhausted.
         6.       Appeals. A person may appeal any of the following actions by a Committee, the
Directorate, or the President:
                  a.       A decision of the Ratings Committee regarding a Request for
Reconsideration;
                  b.       A decision by the Championships Committee regarding a Request for
Reconsideration; or
                  c.       Any other decision not subject to a Request for Reconsideration.



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         7.        Appeals Panel. The President shall appoint an appeal panel to hear any appeal filed
in accordance with the Rules. The panel shall consist ofthree or five disinterested members ofthe
WBA,including a chairman, knowledgeable with the Association's rules. Non-members may be
appointed at the discretion ofthe President. An appeal panel shall constitute the appeals committee
authorized in the Bylaws.
         8.        Time and Place of Appeal. The Chairman of an appeal panel will set a time and
place for considering an appeal. He will attempt to provide seven days notice to the appellant, and
to any identifiable party with a cognizable and direct interest of which he is aware, ofthe date on
which written materials are to be submitted to the panel and ofthe hearing, if one is held.
         9.       Hearing. A hearing is allowed, but not required,for an appeal. Ifa hearing is held,
the Chairman may set the methods and terms by which panel members and affected parties who
have notified the Chairman oftheir interest may participate.
         10.      Content of an Appeal. An appeal must include the following:
                  a.        A concise statement by the boxer or his authorized agent, including a
statement of the grounds on which the appeal has been brought, arguments and authority in
support, and identification of other persons with a material interest likely to be affected by a
decision on the appeal.
                  b.       For the person filing the appeal, the following information:
                           • A postal address;
                           • An email address(if one exists);
                           • A facsimile address;

                           • A telephone number; and
                           • A signature ofthe boxer on whose behalfthe appeal is filed.
                  c.       Ifthe appeal is signed by someone other than a boxer, a certified statement
of authorization by the boxer to file the appeal.
                  d.       A $10,000.00 US fee, which is intended to cover the reasonable costs ofthe
Association in conducting procedures related to the appeal. This fee must be paid in the form ofa
certified or cashier's check or wire transfer and will not be set offagainst any amounts the appellant
claims it is owed by the Association.
         11.      Filing an Appeal. An appeal must be filed at the office of the Association, and a
copy sent to the office ofthe Association's Legal Director, within ten(10)days notice ofissuance

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 of the decision sought to be appealed. The appellant shall submit copies of all appeal documents
 to any identifiable party with a material interest in the outcome of the appeal. It must be
 accompanied by a $10,000.00 fee, which is intended to cover the .
The President may waive payment of all or part ofthe required fee for good cause. Failure to file
a Request for Reconsideration or Appeal within the time periods set out in these rules shall
constitute a waiver by the boxer and his agents of any and all rights and claims. No additional or
alternate remedy may be sought from a court oflaw.
          12.      Documents. The Panel Chairman will distribute all materials submitted on behalf
of, and in response to, the appeal to all panel members, and shall use reasonable efforts to assure
that the appellant and all persons who make an appearance obtain, and have an opportunity to
respond to, submitted materials.
          13.      Standard and Decision on Appeal. The appeal panel shall review the appealed
decision ^ noyo. An appeals panel shall submit a preliminary decision to the President. The
preliminary decision shall describe the appeal,identify those parties who participated, and provide
a statement ofthe findings and conclusions ofthe panel. It shall also provide the President a record
ofthe appeal, which may include a summary. In rendering a preliminary decision, the panel shall
apply the Association Rules and any applicable law. Based on the record presented to him for his
review, the President may adopt in whole or in part the preliminary decision, and may modify it
before approving it. He may also remand it to the appeals panel for further consideration. A
preliminary decision once approved by the President becomes a final decision, and shall be sent to
the appellant and any party of record.
         14.      Non-Binding. Preliminary and final decisions may be considered, but are not
binding precedent, in any subsequent decision or appeal.
         15.      Report. The President, or a Director designated by him, shall report at the general
assembly on each appeal for which a decision was rendered in the previous year.
         16.      Additional Costs. In those instances when an appeal has resulted, or may result, in
unusual or extraordinary expenses to be considered properly, the Chairman of the appeals panel
may require the payment by the appellant of additional reasonable costs.
         17.      Finality. No member, boxer, promoter, manager, agent, or other person or entity,
may seek relief in any court of a matter subject to reconsideration or appeal unless said party has
first exhausted the administrative remedies provided in these Rules.


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          18.      Litigation. Any member,boxer, promoter, manager,or other person or entity who
 requests, benefits from,or is affected by a rating or sanction,or who asserts a claim or right against
the Association, or requests relief arising from the Association's Constitution, Bylaws, or these
 Rules (hereinafter "Parties"), hereby agrees and consents to the following:
                   a.       Applicable Law: The laws of the State of Washington, United States of
America, govern.
                   b.       Venue. Venue shall lie in the courts ofPierce County, State of Washington,
United States of America.

                   c.       Duty to Protect. Defend. Hold Harmless and Indemnify. Ifthe Association
becomes a party to any legal proceeding as a result of any Party's action or omission, the Party
shall defend,indenmify, and hold harmless the Association, its employees, officers, directors, and
agents,for all claims, damages,costs and expenses incurred therein by the Association.
                   d.       Limitation ofLiability and Disclaimer. In no event shall the Association be
liable to any Party for punitive, consequential, direct, or indirect damages, including, but not
limited to,lost profits, loss ofearning capacity,delay,interest or attorney fees,directly or indirectly
resulting from any act or omission ofthe Association, its employees, officers, directors, or agents.
                  e.        Exclusive Remedy. The sole and exclusive monetary remedy for any Party
for alleged acts or omissions of the Association shall be limited to a return of reasonable fees,
expenses, or costs the Party has paid to the Association giving rise to the Party's claim.




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G.       FEMALE BOXING

          1.       Application. These Rules(Chapter G)govern female boxing and are supplemental
to the general rules and regulations(Chapters A-F). Unless a rule or rules in this Chapter is directly
applicable, the general rules and regulations found in Chapters A-F shall apply.
         2.       Ratings. A group of qualified boxers, as determined by the Championship
Committee, shall constitute the rankings for each division. Ranked boxers shall be listed in
alphabetical order. No one boxer in the group has a ranking preference over another.
         3.       Defense Period. The Champion shall defend the title against a ranked boxer in the
division every nine months.
         4.       Vacant Title. Two qualified boxers may apply to fight for a vacant title.
Applications will be considered on a first-come first-served basis.
         5.       Bout Length. World Title bouts shall be scheduled for no more than eleven (11),
and no fewer than nine (9), rounds oftwo(2) minutes duration each.
         6.       Weight/Divisions. Female boxers shall be rated according to the following
divisions:

                  Heavyweight                          any weight over 175 lbs.(79.5 kg)
                  Light Heavyweight                    up to 175 lbs.(79.5 kg)
                  Super Middleweight                   up to 168 lbs.(76.3 kg)
                  Middleweight                         up to 160 lbs.(72.5 kg)
                  Super Welterweight                   up to 154 lbs.(70.0 kg)
                  Welterweight                         up to 147 lbs.(66.8 kg)
                  Super Lightweight                    up to 140 lbs.(63.6 kg)
                  Lightweight                          up to 135 lbs.(61.4 kg)
                  Super Featherweight                  up to 130 lbs.(59.0 kg)
                  Featherweight                        up to 126 lbs.(57.3 kg)
                  Super Bantamweight                   up to 122 lbs.(55.4 kg)
                  Bantamweight                         up to 118 lbs.(53.6 kg)
                  Super Flyweight                      up to 115 lbs.(52.3 kg)
                  Fljweight                            up to 112 lbs.(50.9 kg)
                  Light Flyweight                      up to 108 lbs.(48.9 kg)
                  Minimum weight                       up to 105 lbs.(47.63 kg)

         7.       Protection. Female boxers shall wear breast and groin protectors.
         8.       Glove Size. Female boxers shall wear 8 oz. gloves up to 147 lbs. included, and 10
oz. gloves over 147 lbs.




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         9.        Testing. Each female contestant during the pre-fight physical will be required to
pass a pregnancy test administered under the direction of the examining physician or such
physician's authorized assistant. Female contestants submitting written documentation acceptable
to the examining physician may be waived from the pre-fight physical pregnancy test. Such
document will be limited to:

                  a.        A copy ofa lab report from a recognized clinical laboratory and dated within
10 days ofthe pre-fight physical, attesting that the contestant is not pregnant.
                  b.        A statement from a licensed physician on such physician's letterhead,
stating that the contestant has a physical condition making it impossible to beeir children.
         10.      Cosmetics. Female boxers shall use no facial cosmetics and should have their hair

secured with a soft and non-abrasive material.

         11.      Age. The minimum age to compete for the world title shall be 18 years old, unless
another minimum is mandated by the local commission.
         12.      Fees. Sanctioning and other fees for female bouts are set out in Appendix F:
         13.      Promoter Obligations. In addition to sanctioning and official's fees,the promoter
is required to pay the following:
                  a.       Round-trip airfare (coach)for Supervisor.
                  b.       Transportation from and to airport for Supervisor.
                  c.       Hotel Accommodations at the event site should the event take place in a
casino/hotel setting. Ifin a different setting, a reputable hotel as close to the event site as possible
with transportation to and from the event.
                  d.       Complimentary food for the Supervisor for their stay.
                  e.       A ringside seat for the Supervisor to view the event.
                  Note: Items (a) to (e) apply to all officials. All officials must be registered with
WBA. Fees are required to be paid by the promoter 15 days prior to the date ofthe Championship
Fight. Supervisor must have access to hold a rules meeting before or after the weigh-in. All
officials involved in the Championship bout must attend.
         14.      Consent and Waiver. The consent and waiver form found at Appendix G shall be
completed by all participants.




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 APPENDIX A


                                     WORLD BOXING ASSOCIATION

                                       MEDICAL AND SAFETY GUIDELINES



                                                     ARTICLE 1

          a.       In order to obtain a license or the renewal of a license, all boxers must submit to a
thorough medical examination by a physician approved by the Boxing Commission. The
examination shall include a complete history of the applicant and any of all of the following
laboratory procedures at the discretion of such physician: x-rays, skull x-rays, flat abdominal
x-rays, electrocardiogram, complete blood count, including bleeding and coagulation time, urine
analysis, serological examination of syphilis, neurological and psychiatric examination, and any
other test which might be indicated by the past record or present condition ofthe applicant. HIV.
         The following minimum physical requirements and disqualification shall apply to
professional boxers(unless contrary to law of a given region).
                   1.       Age:              Upper Limit -36 years
                                              Lower Limit -17 years
                           Exception: If in a championship bout, the fighter is just over 36 years
                           (Example: 36 years and 7 days), then this may be waived by discretion of
                           the Commissioner. No person of36 years or over will be allowed to start a
                           career in professional boxing.
                  2.       Blood Pressure: No over 150/90. If the physician thinks that the blood
                           pressure was raised because of the boxer's anxiety, he may take several
                           readings. If a boxer suffers from hypertension above 150/90, without
                           evidence of cardiovascular disease and can be allowed to fight.
                  3.       No organic heart disease or history of cardiac surgery.
                  4.       No active lung disease, e.g., pneumonia, tuberculosis, pneumothorax.
                  5.       Fundi ~ no retinopathy or detached retinas (repaired or not).
                  6.       Vision - both eyes without the use of lens, not less than J7 for close vision
                           or no more than 20/100 for distant vision. No contact lenses.




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                   7.       Abdomen - no hernias or organomegalia(enlarged liver or spleen) or
                            palpable masses.
                   8.       Oral temperature - not over 37.4° C or 100° F.
                   9.       No dental abscess.

                   10.      No skin infection.

                   11.      No recent wound on face or ear which is less than 6 weeks old.

                   12.      No active ear infections.

                   13.      No absence ofkidney or actual renal(kidney)disease.
                   14.      No body deformity that may tend to cause bodily injuries.
                   15.      No cranial or brain surgery,
                   16.      No changes in gait, mental status, or boxing performance.
                   17.      No hand fractures less than 6 weeks old.

                   18.      No history of epilepsy.
                   19.      No history of mental illness.
                  20.       No rapid dehydration. If a boxer is more than 5% overweight 5 days before
                            a fight, he should not be allowed to dehydrate himself and should not be
                            permitted to fight. If he presents signs of dehydration or excessive loss of
                            weight on the day ofthe fight, he should not be permitted to fight.
         b.       All boxers applying for an original given electroencephalogram, chest x-rays,
serological test for syphilis and preferably a CAT Scan of the brain. The CAT Scan of the brain
shall be an obligatory exam for all classified WBA boxers, and should be repeated when clinical
circumstances so require. Any boxer that presents an altered CAT Scan that indicates brain
atrophy, intra or extra cerebral hemorrhage, aneurysms, or any other pathological abnormalities,
shall be retired permanently from boxing.


                                                    ARTICLE 2

         Boxers in all have the type of examination outlined in section(a)on the day ofthe weigh-
in and again a short while before the boxing program begins. The boxer shall furthermore, be
checked by a physician before leaving the venue ofthe tournament.




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 ARTICLE 3

          In the event of any serious injury, the ringside physician shall immediately render any
 emergency treatment necessary, recommend further treatment or hospitalization if indicated, and
 fully report the entire matter to the Conunission within twenty four (24) hours and subsequently
 thereafter, if necessary. Such physician may also require that the injured boxer remain in the ring
 or on the premises after the contest for such period oftime, as the physician deems advisable.
 ARTICLE 4

          Any boxer who has sustained any severe injury or actual knockout, in a bout, shall, within
 twenty four (24) hours, be thoroughly examined by a physician approved by the Boxing
 Commission. Such examination shall include any or all the procedures as provided in Section (a)
 above, or as is specifically directed by the Commission physician or the ringside physician. Upon
the physician's request, the Commission may suspend the boxer until he is fully recovered, and
similarly, may extend such suspension already imposed.
 ARTICLE 5

         All medical reports submitted to the Commission relative to the physical examination or
condition of boxers shall be considered confidential, and shall be open to examination only to the
Commission or its authorized representative, to the licensed boxer upon his written apnation to the
Commission or its authorized representative, to the licensed boxer upon his written application to
examine said records, or upon the order ofa court ofcompetentjurisdiction in an appropriate case.
ARTICLE 6

         Any contestant who has lost six (6) consecutive fights, must be automatically suspended
and cannot be reenroll until he has submitted to a medical examination ofthe type specified in(a)
above.

ARTICLE 7

         Any boxer who has suffered an actual knockout shall be suspended for at least sixty (60)
days and shall forthwith surrender his license card to the Commission. He cannot be reinstated
until he has submitted to a medical examination ofthe type specified in Section (a) above.
         If such a boxer suffers a knockout in his next bout, or within three-(3) month following a
previous knockout, he shall be suspended from boxing for a period six(6) months. During the six-
(6) months interval he shall refrain from any contact training in the gymnasiums. It shall be the



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 responsibility ofthe boxer's manager to see that he complies with this rule, and any violation shall
 result in indefinite suspension ofthe boxer and/or his manager.
          The following automatic suspension shall come into effect irrespective of the outcome of
 the bout:

                            a)        More than 10 rounds                30 days
                            b)       Between 6 and 10 rounds             21 days
                            c)       Between 1 and 6 rounds              14 days

ARTICLE 8

          Semiannual and annual medical examinations must be given to all licensed judges referees
by the Commission physician and such examination must be of the same type and thoroughness
as is outlined in Section (a).
ARTICLE 9

         In the event that a boxer who has suffered a knockout or any severe injury has on such
account been treated by his personal physician or has been hospitalized, he or his manager must
promptly submit to the Boxing Commission a full report from such physician or hospital.
ARTICLE 10

         The Commission shall appoint a panel of three physicians to especially examine any
licensed boxer when a question arises as to the physical ability of such licensee to engage in a
scheduled match, and the findings of such panel shall be a conclusive determination of such
question. Any injury of illness before a scheduled match or while in training for a such match
must be fully reported to the Commission within twenty four (24) hours by the licensee or his
licensed manager. In such event the Commission does not request the appointment ofsuch panel,
the license must be examine by one approved physician in accordance with the procedure outlined
in Section 1, above.
ARTICLE 11

         Each boxer shall be equipped with and use throughout the out a custom made individually
fabricated mouth guard.
ARTICLE 12

         A portable resuscitator with oxygen equipment and a stretcher shall be available at ringside.
An ambulance properly equipped with resuscitation equipment and manned by duly trained



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 personnel to transfer any injured boxer to a hospital that is available at the site of the bout. The
 injured boxer should be transported to a hospital, which has neurological facilities.
 ARTICLE 13

DRUGS AND STIMULANTS

          The administration or use of drugs or stimulants, or physiologic substances in order to
increase the performance ofthe boxer in an artificial and unfair manner,before or during the bout
is forbidden. Any fighter who violates this rule shall be disqualified.
          Especially forbidden drugs are stimulants, narcotics and their derivatives, psychotropic
drugs, anabolic steroids, corticosteroids, diuretics, probenecid, and whatever other substance
determined by the Medical Advising Committee of the World Boxing Association, which shall
issue a list offorbidden substances. This list shall be updated periodically by this Committee, and
notified to the affiliated Commissions.

         Any substance, that is not pure water, given to a contender during the bout, is absolutely
forbidden. The discretional use of Vaseline around the eyes shall be permitted; however, the use
of Vaseline, grease or any other substance on the arms, legs or body on any of the contenders is
forbidden. The discretional use of hemostatic shall be permitted, such as adrenaline solution
(1/1000), approved by the ring doctor between the rounds, for the purpose of controlling the
bleeding or minor cuts and laceration received from one of the contenders. It is absolutely
forbidden the use, by the contenders, ofiron hemostatic substances as Monsel solution and the use
of such coagulants shall be considered a violation and shall be sufficient cause for an immediate
disqualification.
         The Medical Advisory Committee,in addition to the list ofsubstances, shall issue and keep
an updated list of hemostatics not considered harmful to the boxer, and, therefore, its use shall be
permitted during the bout.
         In all World Championship fights, anti-drug tests are encouraged and should be taken
before and/or after the fight. The sample taking should take place in an official ceremony for both
boxers and in similar places.
         The place and time of the sample taking shall be announced to the boxer and/or his
representative and his trainer,jointly with the supervisor ofthe fight and the assigned member of
the local commission, preferably at the reading of the rules ceremony. If the time of the sample
taking is not indicated, it shall be understood that it shall take place at the end ofthe bout.


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          The boxer shall have the right to have his representative and/or trainer present at the sample
taking process. Nevertheless, even ifthey do not make use ofthis right, the sample shall retain all
its value. The boxer shall produce the sample before the doctor assigned to the bout or his
substitute, a member of the local commission, or the supervisor of the fight. When, due to
circumstances beyond control, the supervisor of the fight or the member of the local commission
could not attend to the sample taking, it shall be carried out with the doctor and any of the two
present, and it shall retain its entire legal value.
         The sample shall be collected in a sterile recipient and shall be divided into two equal parts
in a sterile container. The specimens should be clearly marked with the name of the boxer, and
sealed in the presence ofthe boxer. After letting the boxer or his representative verify the seals, a
Minute shall be drafted indicating on it the date, time and place and other details on the sample
collection.

         The doctor shall be responsible for the sample, shall deliver them to the laboratory for
analysis, demanding acknowledge of receipt. In those places where do not exist laboratory
facilities, the doctor shall take the samples and deliver them to an acknowledged laboratory.
         The lab accepting the samples shall verify the condition ofthe seals and shall acknowledge,
in writing, the proper receipt ofthe material. Once the first specimens have been examined to the
satisfaction of all the parties, the second specimens may be eliminated.
         In case of unconformity with the results of the analysis on the first set ofsamples, the lab
may send the second sample to another laboratory authorized by the World Boxing Association
shall send the second sets. The result ofthis second analysis shall be definite and shall be privately
informed to the World Boxing Association, and shall then notify to the boxers or to their
representatives.
         In cases where is shall be deemed necessary to examine the second specimens, the boxer
or his representative shall be advised about from the laboratory where same shall be processed,for
the purpose offacilitating his presence or his designating a delegate to observe the sample opening
and analysis details. However,in case the boxer or his representative or delegate should not attend
to this act, the test process shall maintain its entire value.
         Authorized World Boxing Association labs, based on the recommendations ofthe Medical
Advisory Committee shall only process the second specimens. To this end, and for the purpose of



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carrying our respective analysis, the World Boxing Association shall try to establish contact with
 well-known labs ofthe principal countries in the world.
          The test and analysis cost for the first specimens shall be on the account of the fight
promoter. All the costs and analysis made ofthe second specimens shall be on the account ofthe
party requesting the test.
          Whenever a force majeure or a fortuitous case should arise or whenever one of the
contenders should not meet the adequate physical conditions for the respective sample taking, the
assigned for the fight supervisor ofthe World Boxing Association shall be empowered to take the
decision he shall deem must convenient with respect to the antidoping list; his decision shall be
unappealable and no recourse shall be accepted. The boxer who refuses to be examined shall be
disqualified, and furthermore, could be suspended or fined.
         Boxers participating in a world championship bout must indicate previous to the sample
taking, if they have received medication in the preceding seventy-two (72) hours and present
written evidence from their consulting physician of the therapeutically reason for its use. The
physician assigned to the fight, or in his absence, his substitute, according to the list offorbidden
substances approved by the World Boxing Association, shall give his opinion in writing
concerning the boxer's position related to the effects the medication could have over the fight.
         Either the supervisor or the representative of the Local Commission could ask the boxers
and/or their representative to sign the Minutes on the sample taking. In case they would refuse to
do so, a record of this shall be kept and the test shall no lose its value. The boxer shall be allowed
to drink liquids while he waits for the sample taking. If the World Boxing Association supervisor
or the Commission's representative suspects this liquid was taken for the purpose of altering the
results ofthe tests, they could order the analysis of said substance. Should the laboratory analysis
prove that the administered liquid did contain substances, which could alter a positive result, the
result ofthe test shall be considered a positive one.
         The volume of urine samples shall be of 75 mis. or more. If the boxer cannot provide
enough urine, the procedure shall be repeated after he has taken as much liquid as desired, bur he
shall not be allowed to leave the place where the test shall be performed, until he has provided the
established amount of urine.

         The identification ofthe substances shall be done, preferably, through the combined use of
high contrast chromatography and its rectification immune sample. The identification of


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substances could also be done by any other means indicated and accepted by the Medical Advisory
Committee or the World Boxing Association. The sanctions due to positive results ofdrug control
tests shall be as follows:

          1)      Ifthe World Champion wins the fight or retains the title in a tie, and his test results
                   are positive, the title shall be declared vacant and the challenger(whose anti-drug
                   result is negative) shall fight against the Leading Available Contender for the
                   vacant title.

         2)       Should the challenger lose or tie the championship fight and his anti-drug test was
                  positive, he shall not be permitted to fight for a title acknowledged by the World
                  Boxing Association for at least six months and only after presenting medical
                  evidence of his rehabilitation.

         3)       Ifthe challenger wins the world championship bout and his anti-drug test is positive
                  and the losing champions has a negative result, then, the champion shall retain his
                  title no matter losing it, and the challenger shall be disqualified and shall not be
                  able to fight for a World Boxing Association title during the next two (2) years,
                  previous presentation of medical evidence proving his rehabilitation.
         4)       Should both boxer present positive antidrug tests, the title shall be declared vacant,
                  and the World Boxing Association shall appoint two (2) Leading Available
                  Contenders to fight for the vacant title. Neither one of the boxers, in these cases,
                  shall be able to fight for a World Boxing Association championship during the next
                  two (2) years, previous presentation of medical evidence proving their
                  rehabilitation.

         The directors promoters, administrators, entitles, officers, physicians, boxers, and, in
general, anyone related to boxing, who has been judicially proved to be through a final judgment,
involved in drug trafficking, such as: distribution, sale, money laundering from trafficking, for
economic advantage or by any other means which implies, directly or indirectly, the handling of
these substance or their profits, shall be excluded for life from whatever activities carried out by
the World Boxing Association.
         The Executive Committee shall take the respective decision. Nevertheless, when one ofthe
aforesaid individuals or entities in this disposition comes under investigation by any competent
authority, the World Boxing Association, through its Executive Committee, shall take the


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 temporary measures which it deems convenient, including, the suspension related to the
 investigated person or institution, should it be deemed necessary in order to protect the image and
 integrity ofthe Association.
          To ignore this regulation, once approved, cannot be used as an excuse for its unflilfilling
 nor it exempts its application of the respective measure applied to each case. The World Boxing
 Association shall establish a permanent campaign for the prevention and education of drug
 problems in sports.
 ARTICLE 14


HEMOSTATICS

          The discretional use ofhemostatics such as adrenaline solution at 1x1000,shall be allowed
in order to control the bleeding ofminor cuts or lacerations,suffered by the boxers during the bout.
The use of hemostatics solution, or the use of any other caustic solution is prohibited.
         The usage of these prohibited substances constitutes a sufficient cause for a
disqualification.
         The ringside physician is authorized to examine,at any moment,the substances being used
as hemostatics during the fight.




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APPENDIX B


                                    WORLD BOXING ASSOCIATION

                                            GUIDELINES ON RATINGS
A.       History


Prepared by: * Gilberto Mendoza
 Dec. 1978

 Approved in LVIII Annual Convention
Revised: **Gilberto Mendoza

Feb. 1983

*** Gilberto Mendoza

Alberto Sarmiento

Oct. 1992

**** Gilberto Mendoza

Oct. 1999

Approved in LXXVIII Annual Convention


ANTECEDENTS(SOME HISTORY)
         The World Boxing Association is a Non Profit Organization founded in 1920 with the name
of NATIONAL BOXING ASSOCIATION, which in 1962, under the Presidency of Dr. Charles
F. Larson, adopted the name of World Boxing Association, as a REAFFIRMATION OF its
unquestionable condition as universal rector of professional boxing.
         We have not been able to establish since when the organization initiated the ratings lists,
nor whose responsibility was it before 1948. Since then, up to the present, the following have been
the Chairmen of the Ratings Committee:
 From August 1948 to September 1954                         Anthony Petronella
 From September 1954 to August 1959                         Fred J. Saddly
 From August 1959 to September 1966                         Anthony Petronella
 From September 1966 to August 1972                         Arch Hindman

 From September 1972 to August 1974                         William H. Miller



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  From September 1974 to October 1978:                        Rodrigo C. Sanchez E.
  From October 1978 to September 1979:                        Gilberto Mendoza
  From October 1979 to September 1982:                        Ellas M.Cordova Jr.
  From January 1983 to September 1985:                        Gonzalo Riveras
 From October 1985 to January 1993:                           Alberto Sarmiento
 From February 1993 to August 1993:                           Gonzalo Riveras Z.
 From September 1993 to July 1994:                            Bolivar Icaza
 From August 1994 to January 1995:                            Rodolfo Fortich
 From February 1995 to June de 1999:                         Bolivar Icaza
 From July 1999 up to now:                                    Gilberto Mendoza


         The BOXING ILLUSTRATED Magazine, we cannot recall the year, was chosen as the
official publication vehicle of the Rating List, and it declared itself being proud of such
designation, and pointed out on that occasion, that this list was the only one authorized and
responsible. However, until June 1959, The BOXING ILLUSTRATED published, besides the
N.B.A. lists, its own list, made by Mr. Eddie Borden, with the purpose of giving its readers the
opportunity to make comparisons.
         According to this publication, Eddie Borden, its rater, was a famous world authority in
professional boxing, and considered him as the man who had initiated the boxing ratings thirty
years ago.

         Upon the arrival ofAnthony Petronella, with previous experience in the Ratings Committee
(1948 - 1954)and former President ofthe N.B.A.(1954 -1955),the magazine continued publishing
the N.B.A. ratings and later those of the W.B.A., omitting its own lists. Since 1959 up to the
present, the W.B.A. and the magazine's ratings are being published in separate pages.
         In 1989,due to the modem technology facilities offast communication,some collaborators
have been chosen on different places of the world, to whom the ratings are sent at the moment of
the elaboration, they are in charge ofreproducing them and giving them away in the area. To them
our recognition.
         During many years, the work of ratings was according to the judgment, experience and
personal opinion of the Chairman of the Ratings Committee without any parameters and general



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rules that could guide in the accomplishment of an objective and standardized evaluation in the
determination and hierarchization ofthe position ofthe boxers in our official list of ratings.
         It was not until the period 1978-79, when for the first time a project denominated "Norms
and Procedure for Ratings" was elaborated, and even though it was not perfect, since then, it has
permitted us to present over a solid, objective and just, as well as uniform basis, the guidelines
followed in the elaboration of the official list of Ratings. The present work simply constitutes a
revised and actualized reproduction of the one presented at the LVIII Annual Convention of the
World Boxing Association held in Miami on September 1979. We will transcribe the text of the
Minute where this manual was presented, considered and approved. The page 28 ofthe Minute of
the LVIII Annual Convention of the WBA says as follows:
         ''Mr. Mendoza prefaced his report by explaining the chart he was going to use for
         illustration purposes was patterned after what he had learned in Business
         Administration and one which was used by the Stanford Research Institute. The main
         points were when we plan for the future, we should consider two times -the present
         and the future -the past will simply be a reference point. He gave a detailed account,
         using the chart to illustrate his points. Mr.Mendoza said he had handed out copies of
         his report in both Spanish and English and discussed at length the criteria used in
         determining how to rank the 10 best world boxers in the 13 categories of the W.B.A.
         on a monthly basis. The report also described the goal behind their work schedule in
         addition to the activities carried out by the Ratings Committee. Mr. Mendoza
         acknowledged that he and his committee were far from being perfect but he hoped
         the job would be better in the future. He gave the names of the members who
         comprised his committee and commended them for their efforts.
         The discussion following the report included comments by Bob Arum, who said he
         had never seen a better manual prepared in all his years in boxing and if this were
         implemented and carried out, it would be a monument to Mr. Mendoza. Rodrigo
         Sanchez also congratulated Sr. Mendoza for his fine work and assured him he would
         do everything in his power to see that his manual was implemented during his
         administration.

         Ron Hayter stated, I WOULD LIKE TO MOVE THAT THE PROCEDURES
         GUIDE FOR RATINGS BE APPROVED. Luis Barradas seconded it."Mr. Hayter


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          added how important it was to have ratings we respect and he strongly endorsed the
          guide-" lines composed by Mr. Mendoza. Ron Hayter addressed the Chairman,
          saying he believed the guide compiled by Mr. Mendoza will be a map they can follow
          in setting forth-creditable ratings. President Galindez stated a motion was made to
          approve the report and repeated the motion: THAT WE SHOULD USE THE
          RATINGS PROCEDURES PRESENTED TO US THIS YEAR BY THE RATING

          COMMITTEE,The motion was unanimously approved.
          The President was pleased that Mr. Mendoza had justified his faith in having chosen
          him for the Job as Chairman of the Ratings Committee. He reviewed all the steps
         leading up to this time and said in more than 50 years, it had not been possible to
         establish set rules. The President stated he could not add anything about Mr.
          Mendoza's work except to repeat what Bob Arum had said about it-"it is brilliant!"
         He referred to the Report of the Ratings Committee -formed in the period 1978-1979
         by por H. O. W. Klopper, Ron Hayter, Gail Brown, Kozaburo Nagazto, Aureliano
         Rey Miododo,Francisco Fernandez-as the seed which boxing world needed and that
         it was,fortunately, the best thing he could leave to the W.B.A."
         Similarly its original author GILBERTO MENDOZA has updated this work in 1983,1992
and 1999.

         In this opportunity -November 1999-and in the frame ofthe LXXVIII Annual Convention
we introduced some modifications and improvements, which are the result ofexperiences obtained
through its application. They are: a) The obligation of the N®1 contender to defend his position
based on article 10.3 ofthe World Championships Regulations; b) Mandatory fights to determine
the N° 1 and N° 2 positions in the ratings; c) The Vacancy of the N° 1 position of any of the
divisions where the Ratings Committee considers it necessary; d) Adjustment of the promotion
and demotion for the rated contenders from 10 to 12 and from 12 to 15; e)Five Point System for
ratings evaluation, that will allow us to be more objective on the determination of a boxer's
position in the ratings. This will undoubtedly improve the objective principle of this delicate and
controversial work. The details ofthis system are explained in the point      ,page         ofthis
manual.

         In the publication of this manual called "Norms and Procedures for Ratings", also known
as "MENDOZA'S MANUAL FOR RATINGS" as a recognition for the effort of its author has


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been considered by many specialists as a transcendental and revolutionary instrument in the history
ofthe International Professional Boxing.
         The present project does not pretend to be the "Perfect Procedure" towards the
establishment of a ratings system.
         It simply pretends to constitute itself in a rule of general guidelines that may serve as a
device to determine an objective, precise and rational form,and the position of boxers in the WBA
Ratings.
         I hope this modest work, which has being updated to agree with the environment oftoday,
called "NORMS AND PROCEDURES FOR RATINGS" presented and approved in the
Convention of Miami,in 1979, and first updated in 1983 by its author, the President ofthe World
Boxing Association, GILBERTO MENDOZA,contribute to the strengthening ofthe WBA and all
of its members.

B.       Norms.

         1.       PROMOTIONS IN THE RATINGS.

         The promotions which boxers rated in the WBA ratings deserve, will be governed by the
TABLE OF PROMOTIONS N° 1, N° 2, N° 3, N° 3, N° 4, N° 5 and N° 6 that have been made for
that purpose.
         These tables will be applied in those cases in which a rated boxer obtains a victory over
another boxer with a better rating.
         The type of decisions that are considered in the six-(6) tables mentioned before are
identified as follows:

                                    SD: SPLIT DECISION

                                    UD: UNANIMOUS DECISION

                                    TKO: TECHNICAL KNOCKOUT

                                    KO: KNOCKOUT

         The TABLES OF PROMOTIONS will be presented individually.




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                                                      TABLE 1

                                           "PROMOTIONS"

                           (FOR BOXERS RATED IN POSITIONS 2 TO 5)


  RATED N°               WINS                                  GOES TO POSITION N°
                      OVER N°
                                              SD                  UD        TKO            KO
         2                  1                   1                   1        1               1
         3                  2                  2                    2        2              2
         3                  1                   1                   1        1               1
         4                  3                   3                   3        3              3
         4                  2                  2                   2         2              2
         4                  1                   1                   1        1               1
         5                 4                   4                   4         4              4
        5                   3                  3                   3         3              3
         5                 2                   2                   2         2              2
         5                  1                   1                   1        1               1


NOTE:             This table is applicable to the fights held between boxers rated in positions from
                  N° 2 to N° 5, both inclusive. According to it the winner, in this case the boxer of
                  lower position, will automatically obtain the right to be rated in the position which
                  the defeated boxer had prior to the fight, regardless ofthe type of decision that
                  caused the defeat. In case of"Draw Decision", the boxers will continue in the
                  positions they occupied before the fight.




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                                                      TABLE 2

                                            "PROMOTIONS"

                           (FOR BOXERS RATED IN POSITIONS 6 TO 8)

  RATED N°               WINS                                  GOES TO POSITION N°
                      OVER N°
                                              SD                  UD        TKO           KO
         6                  5                   5                   5        5             5
        6                   4                  4                   4         4             4
        6                   3                  4                    3        3             3
        6                   2                   3                  2         2             2
         6                  1                  2                    1        1              1
         7                 6                   6                   6         6             6
         7                  5                  5                   5         5             5
         7                 4                   5                   4         4             4
        7                   3                  4                   3         3             3
        7                  2                   3                   2         2             2
        7                   1                  2                    1        1              1
        8                  7                   7                   7         7             7
        8                  6                   6                   6         6             6
        8                  5                   6                   5         5             5
        8                  4                   5                   4         4             4
        8                  3                   4                   3         3             3
        8                  2                   3                   2         2             2
        8                   1                  2                    1        1             1


NOTE:             This table is applicable to boxers rated in positions 6,7 and 8, when they obtain
                  favorable results in fights held against boxers better rated. In case of"Draw
                  Decision" both boxers will continue in the positions occupied by them before the
                  fight.




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                                                      TABLE 3

                                           "PROMOTIONS"

                         (FOR BOXERS RATED IN POSITIONS 9 AND 10)


  RATED N®               WINS                                  GOES TO POSITION N°
                      OVER N°
                                              SD                  UD        TKO           KO
         9                  8                   8                   8        8              8
         9                  7                   7                   7        7              7
         9                  6                  6                   6         6              6
         9                  5                  6                   5         5              5
         9                  4                  5                   4         4             4
         9                  3                  5                   3         3              3
         9                  2                  4                   2         2              2
         9                  1                  3                    1        1              1
        10                 9                   9                   9         9             9
        10                  8                  8                   8         8             8
        10                 7                   7                   7         7             7
        10                 6                   6                   6         6             6
        10                 5                   6                   5         5             5
        10                 4                   5                   4         4             4
        10                 3                   5                   3         3             3
        10                 2                   4                   2         2             2
        10                  1                  3                    1        1              1


NOTE;             This table is applicable for boxers rated in position 9 and 10, when they obtain
                  favorable results in fights held against boxers better rated. In case of"Draw
                  Decision" both boxers will continue in the same positions they occupied before
                  the fight.




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                                                      TABLE 4

                                           "PROMOTIONS"

                         (FOR BOXERS RATED IN POSITIONS 11 AND 12)

  RATED N°               WINS                                  GOES TO POSITION N°
                      OVER N°
                                               SD                  UD      TKO           KO
         11                 10                 10                  10        10           10
        11                  9                   9                   9        9            9
        11                  8                   8                   8        8            8
        11                  7                   8                   7        7            7
        11                  6                   7                   7        6            6
        11                  5                   7                  6         5            5
        11                  4                   6                   5        4            4
        11                  3                   5                  4         3            3
        11                  2                   4                   3        2            2
        11                  1                   3                  2         1            1
        12                 11                  11                  11       11            11
        12                 10                  10                  10       10           10
        12                  9                  9                   9         9            9
        12                  8                  9                   9         8            8
        12                  7                  9                   8         7            7
        12                 6                   8                   7         6            6
        12                  5                  8                   7         5            5
        12                 4                   7                   6         4            4
        12                  3                  6                   5         3            3
        12                 2                   5                   4         2            2
        12                  1                  4                   3         1            1


NOTE:             This table is applicable for boxers rated in positions 11 and 12, when they obtain
                  favorable results in fights held against boxers better rated. In case of "Draw
                  Decision" both boxers will continue in the same positions they occupied before the
                  fight.




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                                                        TABLE 5

                                           "PROMOTIONS"

                         (FOR BOXERS RATED IN POSITIONS 13 AND 14)

  CLASIFICADO              VENCE AL                      PASA A OCUPAR LA POSICION N°
           NO                 NO

                                                   SD                    UD   TKO         KO
           13                    12                 12                   11   12           12
           13                    11                 11                   10   11           11
           13                    10                 10                   9    10           10
           13                    9                  9                    9     9           9
           13                    8                  9                    8     8           8
           13                    7                  8                    7     7           7
           13                    6                  8                    7    6            6
           13                    5                  7                    6     5           5
           13                    4                  7                    5    4            4
           13                    3                  6                    4    3            3
           13                    2                  5                    3    2            2
           13                    1                  4                    1     1            1
           14                    13                 13                   13   13           13
           14                    12                 12                   12   12           12
           14                    11                 11                   11   11           11
           14                   10                 10                    10   10           10
           14                    9                  9                    9    9            9
           14                    8                  9                    9    8            8
           14                    7                  8                    8    7            7
           14                    6                  8                    7    6            6
           14                    5                  7                    7    5            5
           14                    4                  7                    6    4            4
           14                    3                  6                    5    3            3
           14                    2                  5                    4    2            2
           14                    1                  4                    3    1            1


NOTE:             This table is applicable for boxers rated in positions 13 and 14, when they obtain
                  favorable results in fights held against boxers better rated. In case of "Draw
                  Decision" both boxers will continue in the same positions they occupied before the
                  fight.




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                                                        TABLE 6

                                           "PROMOTIONS"

                              (FOR BOXERS RATED IN POSITIONS 15)

  CLASIFICADO              VENCE AL                      PASA A OCUPAR LA POSICION N°
           NO                 NO

                                                   SD                UD       TKO        KO
           15                    14                14                    14   14          14
           15                    13                13                    13   13          13
           15                    12                12                    12   12          12
           15                   11                 11                    11   11          11
           15                   10                 10                    10   10          10
           15                    9                  9                    9    9           9
           15                    8                  9                    9     8          8
           15                    7                 9                     8     7          7
           15                    6                  8                    8    6           6
           15                    5                  8                    7    5           5
           15                    4                  7                    7    4           4
           15                    3                  7                    6    3           3
           15                    2                 6                     5    2           2
           15                    1                  5                    4     1          1




NOTE:             This table is applicable for boxers rated in the N° 15 position, when they obtain
                  favorable results in fights held against boxers better rated. In case of "Draw
                  Decision" both boxers will continue in the same positions they occupied before the
                  fight.




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          2.       DEMOTIONS IN THE RATINGS- TABLES 1 to 7

          In order to determine the demotions caused by defeats suffered by the rated boxers, the
 guidelines established in the TABLES OF DEMOTIONS N° 1, N° 2, N° 3, N° 4, N° 5, N°6 and N°
7, which were elaborated for that purpose, shall be applied.
          These tables consider the different possible defeats to which a rated boxer is exposed, and
they are the following:
                            A.       Defeats in World Championship Fights.
                            B.       Defeats by better rated boxers.
                            C.       Defeats by lower rated boxers.
                            D.       Defeats by non-rated boxers.




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                                                      TABLE 1
                 A. TABLE OF DEMOTIONS ACCORDING TO THE RESULTS
                                     OF FIGHT FOR A WORLD TITLE
                             Table applicable in cases of"DRAW"DECISION,
                            UNANIMOUS DECISION AND SPLIT DECISION
 This table shows the new position that a challenger should occupy, according to the type of
 decision. Draw Decision, Unanimous Decision and Split Decision that had caused his defeat by
the World Champion.
  POSICION DEL                                            TIPO DE DECISION
     RETADOR
                                D            SD(2)         SD (3+)       UD (1)   UD(2)   UD(3+)
             1                   1              2               3          3       4        5
            2                    2              3               4         4        5        6
            3                    3              4               5          5       6        7
            4                    4              5              6          6        7        8
            5                    5              6               7          7       8        9
            6                   6               7              8           8       9       10
            7                    7              8              9          9        10      11
            8                    8              9              10         10       11      12
            9                   9              10              11         11       12      13
           10                   10              11             12         12       13      14
           11                   11             12              13         13       14      15
           12                   12             13              14         14       15      X
           13                   13             14              15         15       X       X
           14                   14             15              X          X        X       X
           15                   15              X              X          X        X       X
REF:              D:                 Draw
                  SD (2):            Split Decision by two(2) points.
                  SD (3+):           Split Decision by Three(3)or more points
                  UD(1):             Unanimous Decision by one(1) point
                  UD (2+):           Unanimous Decision by two(2) points
                  UD (3+):           Unanimous Decision by three or more points
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                                                      TABLE 2

                            A.TABLE OF DEMOTIONS ACCORDING TO

                         THE RESULTS OF FIGHT FOR A WORLD TITLE


Table applicable in cases ofTKO or KG. when the loser is ahead in the scorecards ofthe Judges
at the moment ofthe TKO or KG

This table shows the new position that a challenger should occupy, according to the type of
decision, TKO or KG that had caused his defeat by the World Champion.

        RESULT                                             TYPE OF DECISION
   CHALLENGER
      POSITION
                                TK0/K09R-12R                   TK0-K05R-8R           TK0-K01R-4R
             1                            5                              6                   7
             2                            6                              7                   8
             3                            7                              8                   9
             4                            8                              9                  10
             5                            9                              10                 11
             6                           10                              11                 12
             7                           11                              12                 13
             8                           12                              13                 14
             9                           13                              14                 15
            10                           14                              15                  X
            11                           15                              X                   X
            12                            X                              X                  X
            13                            X                              X                  X
            14                            X                              X                  X
            15                            X                              X                  X




REF:

TKO/KO 9R- 12R:            When the TKO/KO takes place between the 9th and the 12th round

TKO/KO 5R-8R:              When the TKO/KO takes           place between the 5th and the 8th round
TKO/KO 1R-4R:              When the TKO/KO takes place between the 1st and the 4th round




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                                                      TABLE 3

                            A.TABLE OF DEMOTIONS ACCORDING TO

                         THE RESULTS OF FIGHT FOR A WORLD TITLE



Table applicable in cases ofTKO or KG. when the loser is behind in the scorecards ofthe Judges
at the moment of the TKO or KG

This table shows the new position that a challenger should occupy, according to the type of
decision, TKO or KG that had caused his defeat by the World Champion

        RESULT                                             TYPE OF DECISION
   CHALLENGER
      POSITION
                                TK0/K09R-12R                   TK0-K05R-8R         TK0-K01R-4R
             1                            6                              7                   8
             2                            7                              8                   9
             3                            8                              9                   10
             4                            9                              10                  11
             5                            10                             11                  12
             6                           11                              12                  13
             7                           12                              13                  14
             8                           13                              14                  15
             9                           14                              15                  X
             10                          15                              X                   X
            11                            X                              X                   X
            12                            X                              X                   X
            13                            X                              X                   X
            14                            X                              X                   X
            15                            X                              X                   X



REF:

                                                                              th        th
TK0/K09R-12R: When the TKO/KO takes place between the 9 and 12 round
                                                                              th   th
TK0/K05R-8R:               When the TKO/KO takes place between the 5 and 8 round
                                                                              St   th
TK0/K01R-4R:               When the TKO/KO takes place between the 1 and 4 round




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                                                      TABLE 4

                        A.-TABLE OF DEMOTIONS ACCORDING TO THE

                         RESULT OF THE FIGHTS FOR A WORLD TITLE
                    IN THE CASE THE WORLD CHAMPION IS DEFEATED.


This table shows the position that the World Ex-Champion shall occupy, according to the result
that caused his defeat by the challenger, who has won the title.

   NEW POSITION                                            TYPE OF DECISION
        OF THE
   EX-CHAMPION
                                   SD              UD(2)            UD(3+)   TKO/KO   TKO/KO
                                                                              7-12     1-6
                                    2                 3                  4     5        6


REF:
         SD:               SPLIT DECISION
         UD (2):           UNANIMOUS DECISION BY ONE(1)OR TWO(2)POINTS
         UD(3+)            UNANIMOUS DECISION BY THREE(3)OR MORE POINTS
         TKO/KO:           TECHNICAL KNOCK OUT AND KNOCK OUT




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                                                      TABLE 5

                          B.- DEFEAT BY BOXERS WITH BETTER RATING

                           (FOR BOXERS RATED IN POSITIONS 2 TO 5)


  RATED         LOSSES                                DEMOTED TO POSITION N°
  NO            BEFORE
                NO

                                  SD         UD       TKO         TKO    TKO   KO     KO    KO
                                                       9-12        5-8   4-1   9-12   5-8   4-1
      2               1            4          5          6          7     8     7     8     9
      3              2             5          6          7          8     9     8     9     10
      3               1            5          6          7          8    9      8     9     10
      4              3             6          7          8          9    10     9     10    11
      4              2             6          7          8          9    10     9     10    11
      4               1            6          7          8          9    10     9     10    11
      5              4             7          8          9         10    11    10     11    12
      5              3             7          8          9         10    11    10     11    12
      5              2             7          8          9         10    11    10     11    12
      5               1            7          8          9         10    11    10     11    12




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                                                      TABLE 6

                          B.- DEFEATS BY BOXERS WITH BETTER RATING

                           (FOR BOXERS RATED IN POSITIONS 6 TO 8)


  RATED         LOSSES                                DEMOTED TO POSITION N°
  NO            BEFORE
                NO

                                  SD         UD        TKO        TKO    TKO   KO     KO    KO
                                                       9-12        5-8   4-1   9-12   5-8   4-1
      6               5            8          9          10         11   12     11    12    13
      6              4             8          9          10         11   12     11    12    13
      6              3             8          9          10         11   12     11    12    13
      6              2             8          9          10         11   12    11     12    13
      6               1            8          9          10         11   12    11     12    13
      7              6             9          10         11         12   13    12     13    14
      7              5             9         10          11         12   13    12     13    14
      7              4             9         10         11         12    13    12     13    14
      7              3             9         10          11        12    13    12     13    14
      7              2             9         10          11        12    13    12     13    14
      7               1            9         10         11         12    13    12     13    14
      8              7            10         12         12         13    14    13     14    15
      8              6            10         12         12         13    14    13     14    15
      8              5            10         12         12         13    14    13     14    15
      8              4            10         12         12         13    14    13     14    15
      8              3            10         11         12         13    14    13     14    15
      8              2            10         11         12         13    14    13     14    15
      8              1            10         11         12         13    14    13     14    15




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                                                      TABLE 7

                          DEFEATS BY BOXERS WITH BETTER RATING

                           (FOR BOXERS RATED IN POSITIONS 9 TO 12)

   RATED N®            LOSSES                             DEMOTED TO POSITION N®
                       WITHN®
                                               SD                  UD    TKO       KO
         9                  8                   11                  12   13        14
         9                  7                   11                 12    13        14
         9                  6                   11                 12    13        14
         9                  5                  11                  12    13        14
         9                  4                  11                  12    13        14
         9                  3                  11                  12    13        14
         9                  2                  11                  12    13        14
         9                  1                  11                  12    13        14
        10                  9                  12                  13    14        15
        10                  8                  12                  13    14        15
        10                  7                  12                  13    14        15
        10                  6                  12                  13    14        15
        10                  5                  12                  13    14        15
        10                  4                  12                  13    14        15
        10                  3                  12                  13    14        15
        10                  2                  12                  13    14        15
        10                  1                  12                  13    14        15
        11                1-10                 13                  14    15        X
        12                1-11                 14                  15    X         X
        13                1-12                 15                  X     X         X
        14                1-13                 X                   X     X         X
        15                1-14                 X                   X     X         X




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                                 C.-DEMOTIONS IN CASE OF DEFEATS

                                   BY BOXERS WITH LOWER RATING

         The boxer with high rating, who is defeated by a boxer with lower rating, will be
automatically demoted to the position occupied by the boxer who defeated him, provided the
result ofthe fight has been Split Decision or Unanimous Decision. In those cases when the
result ofthe fight is TKO or KO,the defeated boxer will automatically be demoted to the
position immediately below to that occupied by the boxer who defeated him.

                                  €.- DEMOTIONS IN CASE OF DEFEATS

                                       WITH NON-RATED BOXERS

         The rated boxer who is defeated by a non-rated boxer will automatically be withdrawn
fro m the Ratings. Nevertheless, what has been established in the paragraph "b" of point 5
"Removal from the Ratings" will be taken into consideration.


         3.       100 POINT SYSTEM FOR RATINGS POSITION EVALUATION

         This system is based on five(5)factors that will help the determination of the position of
the rated boxers in the ratings. The evaluation factors are:
                           I.        Record

                           II.       Activity
                           III.      Caliber of contenders

                           IV.       Regional Recognition
                           V.        WBA Achievement




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                            Record: Scales were elaborated to give points according to the number of
                            victories that a boxer has. The scale is the following:

                              I-A                    RECORD               POINTS
                                                    (Victories)
                                                          15                  3
                                                        16-21                 6
                                                        22-27                 9
                                                        28-33                 12
                                                        34-39                 15
                                                         40+                  18


                            Similarly, points will be deducted according to the number of defeats that a
                            boxer has in his record according to the following scale:

                              I-B                   RECORD                POINTS
                                                     (Defeats)
                                                         1-2                  -1
                                                         3-4                  -2
                                                         5-6                 -3
                                                         7+                  -6




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                   II.      Activity. The application ofthis factor is to award points to the activity of
                            a boxer. The last 12 months prior to the mo nth in which the evaluation is
                            made. The parameters established in this scale are the foliowings:

                               II                   ACTIVITY              POINTS
                                                  (FightsA^ear)
                                                           1                  3
                                                           2                  6
                                                           3                  9
                                                          4                  12
                                                           5                 15
                                                          6+                 18




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                   III.     Caliber of Contenders. Points will be given according to the victories a
                            boxer, who is submitted to the evaluation, has over other rated boxers. It
                            will work as follows.


                               III-A              CALIBER OF             POINTS
                                                 CONTENDERS
                                             (Victories over rated
                                                    contenders)
                                                           1                3
                                                          2                 6
                                                          3                 9
                                                          4                12
                                                          5                15
                                                          6                18
                                                          7                21
                                                          8                24
                                                         9+                27



                           The boxer will be given points for defeats against recognized (well-
                           known) boxer.



                              III-B               CALIBER OF             POINTS
                                                CONTENDERS
                                             (Losses against rated
                                                      boxers)
                                                          1                 1
                                                          1                 1
                                                          1                 1
                                                     TOTAL                 30




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                   IV.      International Recognition. The application ofthis factor is to award
                            points to incentivate the realization ofregional titles, recognized by the
                            WBA.It will work as follows:


                               IV        INTERNATIONAL RECOGNITION                     POINTS
                                                        (Regional Titles)
                               A                WINNING REGIONAL TITLE                     2
                               B                    REGIONAL DEFENSE
                                                   V'REGIONAL DEFENSE                      2
                                                  2"'' REGIONAL DEFENSE                    2
                                                  3^^^ REGIONAL DEFENSE                    2
                              C                         WORLD TITLES                       4
                                                  (WBA,WBC,WBO,IBF)
                              D                             DEFENSES
                                               V WORLD TITLES DEFENSES                     1
                                              2"*^ WORLD TITLES DEFENSES                   1
                                              3^^ WORLD TITLES DEFENSES                    1
                              E                WORLD TITLE UNIFICATION                     5
                                                               TOTAL                      20




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                            WBA Achievement:



                               V                    WBA ACHIEVEMENT       POINTS
                               A           WBA REGIONAL TITLE DEFENSES
                                                           V DEFENSE        1
                                                          2"^ DEFENSE       1
                                                          3'-'' DEFENSE     1
                               B                 ONE WBA TITLE OR WBA       2
                                                 REGIONAL UNIFICATION
                               C                      TWO WBA TITLES        4
                               D                     THREE WBA TITLES       5
                                                               TOTAL        14




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APPENDIX C
                                                    SUPER BELTS



Heavy:                      Joe Louis(5 defenses), Muhammad All(10 defenses);

Cruiser:                    Evander Holyfield(5 defenses);

Light Heavy:                Archie Moore(5 defenses), Virgil Hill(10 Defenses);

Super Middle:               Sugar Ray Leonard(5 defenses);

Middle:                     Carlos Monzon(10 defenses);

Super Welterweight:Thomas Heams(5 defenses);

Welter:                     Sugar Ray Robinson(5 defenses);

Super Light:                Antonio Cervantes "Kid Pambele"(5 defenses);

Light:                      Roberto Duran(5 defenses);

Super Feather:              Gabriel "Flash" Elorde(5 defenses);

Feather:                   Sandy Sadler(5 defenses), Eusebio Pedroza(10 defenses);

Bantam:                    Eder Jofre(5 defenses);

Super Bantam:              Wilfredo Gomez(5 defenses);

Super Fly:                 Khaosay Galaxy(5 defenses);

Fly:                       Pascual Perez(5 defenses);

Light Fly:                 Yoko Gushiken(5 defenses);

Minimum:                   Leo Gamez(5 defenses).




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                                          APPENDIX D
                    TO RULES OF WORLD BOXING ASSOCIATION
                                   SANCTION AND OTHER FEES


  a. For Super Championship, World Championship, and Interim Championship
        contests(in US $):

 1)      PROMOTER'S BOUT FEE

       DIVISIONS/                                    COMBINED PURSES
         PURSES
                                  Up to $ 250           $250-$500               $500-$l,5M

 FROM 105 to 115 Lbs               $6,000.00              $8,000.00             $10,000.00
 FROM 118 to 130 Lbs               $8,000.00             $10,000.00             $12,000.00
 FROM 135 to 154 Lbs              $10,000.00             $12,000.00             $14,000.00

 FROM 160 to 200 Lbs              $12,000.00             $15,000.00             $20,000.00
 HEAVYWEIGHT AND ALL DIVISION PURSES OVER 1,5MM
                                                                                $25,000.00


 2)      Sanctioning Fee
                             Percentage of Purse         Minimum                  Maximum

 Champion                         3% of purse             $ 3,500                 $ 250,000
 Challenger                       3% of purse             $ 1,500                 $250,000

        If both fighters are recognized as champions, each is subject to the champion's fee.
        If both fighters are recognized as challengers, each is subject to the challenger's fee.

 3)      Promoter's License (if not previously paid)
      1 January -31 March                                                     $ 5,000.00
      1 April -31 December                                                    $ 6,000.00

 4)      Manager License                                                       $ 1,200.00



 5)      EXPENSES PAYABLE

      A- INSURANCE/LEGAL                                                       $3,000.00

      B- BELT FOR NEW CHAMPIONS

        INTERIM                                                                $2,500.00

         GOLD/ REGULAR / UNIFIED                                               $3,500.00

        SUPER BELT                                                             $5,000.00




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        C- OFFICIALS PAYMENT

         - SUPERVISOR                                                $1,000.00

         - OFFICIALS

                         Total Purse         Referees            Judges
 Up to US$ 100,000                             S 1,900.00         $1,600.00
 FromUSS 100,001 toUSS 250,000                 $2,300.00          $1,800.00
 From US$ 250,001 to US$ 1,000,000             $2,700.00          $2,000.00
 From USS 1,000,000 to US$ 5,000,000           $3,100.00          $2,250.00
 From USS 5,000,001 to USS 10,000,000
                                               $3,500.00          $2,500.00
 From US SI0,000,001 and over
                                               $3,900.00          $3,500.00



 6)      SPECIAL PERMIT

     WEIGHT                                                    AMOUNT

     From 105-115 Lbs.                                        $12,000.00

     From 118-130 Lbs.                                        $15,000.00

     From 135-154 Lbs.                                        $18,000.00

     From 160-200 Lbs.                                        $20,000.00

     Heavyweight                                              $25,000.00



7)      PURSE BID PARTICIPATION

     WEIGHT                                                 PARTICIPATION

     105 lbs.- 130 lbs.                                        $5,000.00

     135 lbs.-154 lbs.                                         $7,500.00

     160 lbs.-200 lbs.                                        $10,000.00

     HEAVY                                                    $15,000.00




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   b. For elimination and box off contests (in US $):

 1) PROMOTER'S BOUT FEE

 TOTAL PURSE OF THE BOXERS                                      PROMOTER'S BOUT FEE

                                                                         (US $)

  Up $250,000                                                         $ 3,600

  From $250,001 up to $500,000                                        $ 4,800

  From $500,001 up to $1,000,000                                      $ 6,000

  From $1,000,001 up to $4,000,000                                    $ 9,000

  From $4,000,000 up to $7,000,000                                   $ 12,000

  From $7,000,001 up to $10,000,000                                  $ 15,000

  More than $10,000,000                                              $ 18,000


 2) Sanctioning Fee                                                  Minimum
          3% ofeach Boxer's Purse                                   $ 1,200 each


 3) Promoters License (if not previously paid)
 1 January -31 March                                                  $ 5,000
 1 April- 31 December                                                 $ 6,000


 4) Manager License                                                   $ 1,200


 5) Legal and Insurance Fees                                          $ 3,000


 6) Officials (to be paid to them as independent contractors)
  Referee                                                             $ 1,900
  Judge                                                               $ 1,600
  Supervisor                                                          $ 1,000




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  c. For Gold titles (in US $):

    1) PROMOTER'S BOUT FEE

 All Divisions                                                            $25,000.00




    2) Sanctioning Fee                Percentage of Purse        Minimum           Maximum


  Champion                                3% of purse              $ 3,500          $ 250,000
  Challenger                              3% of purse              $ 1,500          $ 250,000


       If both fighters are recognized as champions, each is subject to the champion's fee.
       If both fighters are recognized as challengers, each is subject to the challenger's fee.

    3) Promoters License (if not previously paid)
  1 January -31 March                                                        $ 5,000
  1 April-31 December                                                        $ 6,000


    4) Belt(ifthe fight is for the vacant title)                             $ 3,500


    5) Officials (to be paid to them as independent contractors)
  Referee                                                                    $ 1,900
  Judge                                                                      $ 1,600
  Supervisor                                                                 $ 1,000



  d. For Intercontinental and Continental Championship contests(in US $):

    1) PROMOTER'S BOUT FEE
 TOTAL PURSE OF THE BOXERS                                         PROMOTER'S BOUT

                                                                          FEE(US$)
 Up to $ 250.000                                                           $ 6,000
 FROM $ 250.001 TO $ 500.000                                                 $ 8,000
 FROM $ 500.001 TO $ 1.000.000                                               $ 10,000
 FROM $ 1.000.001 TO $ 4.000.000                                             $ 15,000
 FROM $ 4.000.001 TO $ 7.000.000                                             $ 20,000
 FROM $ 7.000.001 TO $ 10.000.000                                            $ 25,000
 FROM $ 10.000.001 Ahead                                                     $ 30,000



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     2) Sanctioning Fee               Percentage of Purse          Minimum              Maximum


  Champion                                 3% of purse              $ 3,500             $ 150,000
  Challenger                               3% of purse              $ 1,500             $ 150,000

       If both fighters are recognized as champions,each is subject to the champion's fee.
      If both fighters are recognized as challengers, each is subject to the challenger's fee.


    3) Promoter's License (if not previously paid)

  1 January-31 March                                                          $ 5,000
  1 April-31 December                                                         $ 6,000


    4) Manager License                                                      $ 1,200


    5) Legal and Insurance                                                  $ 3,000


    6) Officials(to be paid to them as independent contractors)

   Referee                                                                  $ 1,900
   Judge                                                                    $ 1,600
   Supervisor                                                                 $500




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 APPENDIX E



                                          MINIMUM PURSE BID AMOUNTS


                For Unified Title fights:

                For the categories         MINIMUM TO SUPER FLYWEIGHT      US$    120,000.00
                For the categories         BANTAM to SUPER FEATHERWEIGHT   US$    150,000.00

                For the categories         LIGHT to SUPER WELTERWEIGHT     us$   200,000.00

               For the categories          MIDDLE to CRUISER               us$   400,000.00
               For the category            HEAVYWEIGHT                     us$    1,500,000.00


               For World Title fights:

               For the categories          MINIMUM TO SUPER FLYWEIGHT      us$   80,000.00

               For the categories          BANTAM to SUPER FEATHERWEIGHT   us$   120,000.00

               For the categories          LIGHT to SUPER WELTERWEIGHT     us$   150,000.00
               For the categories          MIDDLE to CRUISER               us$   200,000.00
               For the categoiy            HEAVYWEIGHT                     us$   1,000,000.00



               For Interim Title Fights:

               For the categories          MINIMUM TO SUPER FLYWEIGHT      us$   65,000.00

               For the categories          BANTAM to SUPER FEATHERWEIGHT   uss   100,000.00

               For the categories          LIGHT to SUPER WELTERWEIGHT     us$   125,000.00
               For the categories          MIDDLE to CRUISER               uss   175,000.00
               For the category            HEAVYWEIGHT                     uss   600,000.00


e.             For Elimination Fights:

               For the categories          MINIMUM TO SUPER FLYWEIGHT      uss   50,000.00
               For the categories         BANTAM to SUPER FEATHERWEIGHT    uss   80,000.00

               For the categories         LIGHT to SUPER WELTERWEIGHT      uss   110,000.00
               For the categories         MIDDLE to CRUISER                uss   140,000.00
               For the category           HEAVYWEIGHT                      uss   400,000.00




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                                                    APPENDIX F

                                            FEMALE BOXING FEES


                  Championship Fight Sanctioning Fee*                              $2,500
                  Champion's Fee(3% of purse)                            minimum fee $300
                  Challenger's Fee(3% of purse)                          minimum fee $300

                  NOTE: When the title is vacant, each boxer's minimum fee is $300

                   Supervisor's Fee                                                 $500
                   Referee Fee                                                      $500
                   Judges' Fee                                                      $400


*Belt is included in the sanctioning fee.




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 APPENDIX G
                                              CONSENT AND WAIVER



 Boxer's Name:


          I desire to voluntarily engage in a boxing contest sanctioned for the WBA title.

        In consideration for the WBA's sanction ofthe bout referenced below,I hereby,for myself,
my heirs, executors, administrators, successors, assigns, agents and/or representatives, waive and
release any and all claims, potential or otherwise, I may have against the WBA, its officers,
directors, employees, agents, or other representatives. Furthermore, I am aware that boxing is a
dangerous sport and that injuries often occur, including life threatening injuries. I understand this
risk and wish to assume this risk to participate in the bout referenced below and agree to defend,
indemnify and otherwise hold harmless the WBA, its officers, directors, employees, agents,
supervisors, physicians, or other representatives, for any injury or damages I may suffer in
preparation for, transportation to or from, during the bout, and during the bout's scheduled
activities, including, but not limited to, weigh-ins, press conferences and the like.

         These terms are binding on my successors, assigns, agents, representatives, heirs,
executors, administrators and/or promoters.


         EVENT                                                           DATE



         VENUE



         I have received a complete medical examination by                           ,my physician, which
indicates that I am medically clear to participate in this match and further indicated that I am free
of communicable disease, including HIV and Hepatitis B.

         I am not aware of any medical condition that would limit or prohibit me from engaging in
this boxing match.

         I hereby affirm that I have read and fully understand the above. All of my questions have
been answered to my satisfaction.


Date:
                                                       Boxer's Signature

Date:
                                                       Boxer's Manager's Signature


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